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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS
   1ARKE’11NC, SALES PRACTICES,
   ANI) PROI)UCTS LIABILITY                                 Mi)L No. 16-2738 (FLW) (LHG)
   LITIGATION
                                                                         ORDER
   l’his Document Applies to All Actions Filed
   Against I)elndant Personal Care Products
   Council Listed in Exhibit A


                            ORDER OF DISMISSAL PURSUANT TO CMO JO

           WHEREAS, on l.’ebruary 22, 2t)18, this Court entered Case Management Orde;. No. 10

   [I)kt. No, 4767] (“CMO 10”);
                                                                                            period
           WHEREAS, CM() 10 held, in relevant part: “Following the expiration of the 60-day
                                                                                         h    process
   specified in paragraph 2, each and every civil action (other than those amended throug the
                                                                                            aint for
   described above) that has been either designated in Paragraph 10 of the Short form Compl
                                                                                               Jersey or
   remand to a U.S. I)istrict Court other than the U.S. District Court for the District of New
                                                                                         for coordinated
   the U.S. District Court for the District of Columbia and/or transferred to this Court
                                                                                  U.S. District Court
   or consolidated pretrial proceedings from a U.S. District Court other than the
                                                                                         bia is hereby
   for the District of New .Jersey or the U.S. i)istrict Court for the I)istrict of Colum

   DISMISSED as to Defendant PCPC only;”
                                                                                      April 24,
           Wl{EREAS, the 60-day i,eriod specified in paragraph 2 of CMO 10 expired on

   2018;
                                                                                                CMO
           WHEREAS, pursuant to CMO 1 0, all of the cases that were filed prior to the entry of
                                                                                District Court for
   10 that named Defendant PCPC, but were not set for remand in either the U.S.
                                                                                   bia and were not
   the District of New Jersey or the U.S. District Court for the District of Colum



   50249469v, I
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                                                                                 Jersey or the U.S.
  transferred to this Court from the U.S. District Court for the District of New
                                                                                 within the 60-day
  1)istrict Court tor the i)istrict of Columbia, and were not amended or reified
                                                                            (collectively, the “Pre
  period, should be dismissed without prejudice, as to l)efendant PCPC only

  CMO 10 Cases”);
                                                                                 each of the
          For all of the reasons set forth in CMO 10, IT IS HEREBY ORDEREI) that
                                                                         ec, as to I)efendant
   Pre-CN() Cases identified in Exhibit A are 1)ISMISSED, without preudi

   PCPC only. And it is
                                                                                 in a case not
          FURTHER ORDERED that in the event a dismissal is inadvertently entered
                                                                           grounds for the effected
   subject to dismissal for the reasons stated above, this will constitute
                                                                             limitations in such a case
   plaintiff to reinstate his or her action against PCPC, and the statute of
                                                                             reinstatement.
   would be tolled from the date of the entry of dismissal until the date of


           This        day of October, 2018



                                                  ri
                                                  UNITEI) STATES DIS’T(RICT JUDGE




    50249469v. I
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                         Exhibit A




   50249469v. I
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 Abner. Suzmnno                                 -                           31?.cv.i1516                       P0th Law Firm
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 Mains. Darlene and Jerry                                                   3:t7.cv-O5QO                       Harrison Davis Staakley Momson Jones, PC
 AaDoroly                                                                   317.cv.1330                        Beasley, Allen4 Crow, Methvln, Paths. Mlie, PC
 Adams, Mel esa and Richard                                                 3:lTcv’0557f                       8hlzw Law
 Adams. Toni                                                                3:17-cv-09726                      Onderlaw tiC
 Adcock, Nancy                                                              317-cv-f 1313                      Hart UcLaughlln & Eldndpe
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 Addison. Deanna (or the estate ol Ekabulh Schuemann                         3:icv-07644                        Burns Charesm LIP
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     dqe, Nicole
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 Albertin, Lisa                                                   —          3:1 7cv-Q7O6                       Onderlaw CCC
 Alcala, Ralph, for Susana Akala. Darron Alcala, Samarab Avarado, Ryan
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 Alcala, Jonathan Alcala, Joseph Alcala
 Aldridgn,, Susan                                                              3:11-cv.08645          --           Beastey, Alien, Crow, Methvln. POrtis, Miles, PC
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 Alexander, Patricia
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   tox! (or the estate of Deedro Akxendør
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  Altonso, Usa
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  Allerd, Kay     -
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  Alford, VickI
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  Alqur, Dorothy
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  Allan, AlUon
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  Alio,,,eiflnobo Coralno Alien
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  Allan,
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  Allan, Fawn
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  Allen, Samuol Wayne and Sabrina, Samanitha Allen lor the estate of Joyce
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  Allen, Theraca                                                               3:1 7cv-12473               -       Sanders PNIRpB Grossman CCC
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  Allenboc, Jack obo Tamara Ahnbotg
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  Allison, Andrea Kay
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  Allison. Helen                                                                                  -




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  Allison, Janice
  Allison, Nichols individually arid as teprosantativa of the adele at AlIce
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   Allison, Richard for the estate of Dma Allison
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  Alhuo, LInda
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   Atalani, Shalatlu tar the estate at Diunna Aislon
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   Altar Eileen
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   Atzannora. Mary
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   Amadon, Joanna
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   Amburn, Shay
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   AmId, Heather and Steven
   Amos ill, Eitsworth tot Mary Jo Amos                                         3:17-cv-12388                       The Simon law Firm. PC
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   Artdcrs, Nnoml and Buddy
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   Anderson, John for the estate 01 Charlotte Andersen
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   Andersen, Tracoy
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   Anderson Cynthia
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   Anderson, Diana
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 MpeI. Sarah Marie aba Cindy Angel                                     3:1 ?‘-cv-O927           Beasloy. AUn, Crow. Methvrn Portia. Miles, PC
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 Amos, James for Mary Antos                                -           3:1-cv-12Ofl             Robinson Calcagn4e INC
 AppleIioM. Sandra                                                      3:1 7-ov-03080           Saunders a Walker. PA
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 Aqulilna. Kevin for City Aquiline
 Archer, Donna                                                          3:17-cv-Q8543            fleaslay, MoCrow, Mathvln, Pores, Miles. PC
 Archuleta, Ranee br lanai Owens                                        3:17-cv1O656             Golmb & Honick PC
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 joGeorgo for the estate of Donna Arletige                              3:1 7’cv-13523           Ashcraft & Gerel LIP
 ArmrJo_James for the estate of Mary Rose Coppler Amitio                3 17-cv 11653            Hwdsan Davis Steakley Morrison Jones PC
 Armstrong, Belly                                                       3:17cv-08?77             Onuerlaw LIC
 AsUong, Dawn                                                           3:17.cv-06804            The Simon Law PC
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 Arnofl, Richard for the estate of Phyfias Arnoff                       3;1B.cv-0Y228             Rhekigold Gitiltra Rub a Plolkin LIP
 Arnold, Margaret and David                                             3;15-cv-01219             Merlin & Saftrman LIP
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 Arrodondo, Rebecca
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  Ascger, Mary by Bradley Aschinger                                      3:17ev..10941            CaMs Mahoney ICC
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  Ashbum, Linda
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  AShIOn. Janice                                                         3:18cv4)Q8fl             Beasley, Men, Crow, Mathvin, Portia, Miles, PC
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  Ashlan, Marie
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  Ashwoqth, Carcil
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  Astudlilo, Joan and Mark
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  Atherton, Yvonne
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  Atkinson, Alyssa Ranee
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  Aulman, Carol                                                          3:17-cv-08846            Beasley,n, Crow. Molhvin. Portls. Miles, PC
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  Bailey. Rhonda
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   alrd Ellen
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 Barborka, Bamlta ‘Charlie’ and Frank Barborka
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   irdlill, Mary Jo
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   argo-Chambers, Mary
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 Barker. Janice
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   arrara, Matthew edo Karta Barters
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   erred, Linda
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   arrish, Kathleen
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  Barrow, Renee and Jim
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    artleti, Diana
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    anon, Warida                                                                                      Boasley, Allan, Crow, Methvln, Porlis, Miles, PC
  Baileazok, Joan                                                          3:17-cv-i0g07
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  Basore, Daaoiu
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    each, Sandra
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   enolt, Pamela
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    aghauaLAngala                                                                                           The Simon law PC
  Bernet, Margaret                                                             3:1 ?-cvO6771
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    urnbaum, loot for the estate of Debra Burribaurn
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    Bits. Barbara Hatcher and Billy Mack Bolts
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     anco, Ludtino for the estate Of Mary Blanco                                                             Morelli Law Firm PLCC
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     abel, Carolyn and Robert
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      rd Gail                                                                                                 Baron & ButIci, PC
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   Birmingham, Connie                                                         -




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   Blschotf, Erika                                                                                            Polls Law Firm
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      tend Katherine   —

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        uo. Ranee lot the estate of Ida Murphy                                     3:17-cv.11415
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        urn., Lesley                                                                                            Ondetlaw ICC
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       ock, Denise
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   ouler, Sherry
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  Bouzon, Michalene tot the estate of Pauline SkintoAltietta
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  Bowden John for the estate of Kathryn Bowclen
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  Rowe, Ruth Elaine
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  Bowens, Janet and Alexander
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  Bowne, Nancy and Norman Bowno Jr.
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  Boxer Richard tot the estate of Mary Ellen Boxer
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   Brahm, Stophen br the estate of Lisa Brohm
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   Htencd, Glenda Faye
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   Brandon, Sandra Mae
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   Braswell Gwendolyn
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   Brathwaltc, Antoinette
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   Bravorrnan, Gala
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   Brawand, Marsha
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   Brozol, Larry and Joan
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   Bra?iel, Charita Garbo
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   Brewer, Wendy____
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    Brewer-Etam, Bssi
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    BrIOhI, Barbara tot the estate of Kay Luboid
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      mba, Misty
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      rjnson. Debbie and Ronald
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      rtttori, Charlene                                                                 3:17-cv-10248
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      rixirete, Adulan tot the estate of Norms Vezquez
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   town, Esther Ann
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    mown lottery and Rogra tot ma estate of Skuka Brown                   31 7’cv4)5139                   Onder, *heon O’leary & Peterson
    town, Jennifer                                                        3:1 7-cv-09721                  Ondedew LLC
    town Joann and Ray                                                    3 t?cv 10519.                   The Lanler Law Firm
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 8town Ronaki tot the estate of Virginia Brown                            3 17cv 12489                       ott LaW?Irm
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     ubeU. Kelly                                                          3:17cv.l0B43,                   The Lanler L.aw Firm
     ucciori. Joseph aba Dorothy Buccren                                   3:17-cv-10282                   Bessk, Men, Crow, MeUwin, Porits, Miles, PC
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     uchita, Laura
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     uck. Patricia and Ray
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     uckhol Ronald on behalf of the estate of Pamela Buckholz
                                                                           3 17.cv 10295                   Bay,Men Crow MeUwin PorU* Mba, PC
     uckley JanIce
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   But Chattel tot the estate of Taut Bull                                 3 17-cr 10964                   Th. Simon law PC
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   Buflnrd. Edward for the estate of loanetto Ekzabelh Fox
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   Buliard, Jackie
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   Bullock, Annie
   Bunch, Snerla                                                           3:1 Z’cv-08406                  The Canter LaW Firm
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   T3uncy, Karen
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   Bunt, into Lois Nixon
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   Bunting, Margaret
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   Bumdyck, Cheryl Artgaia                                      —


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   Burkett, Caron and Jerry
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   Burnett, Dawncina                                            -



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   Burnett, Lisa and Bobby, It                                  —,




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   Burnettra, Philip tot 11w estate of Cheryl Bumnelte
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    Burns Ellzabalh
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    Burns, Joanava
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    Burns, Karen
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    Burns, Margaret
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  Cabrera, Cynlhia                                                 3:1 7-cv’.07804         Blsnat Chase
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  Cuen, Joshua                                                     3:17-cv-06006           Kline 8 Specter PC
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  Cain, Tim abc Martha Cain
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    alhoon, Sandra
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    athoun, Henry aba Carolyn Caliioun                              3:17-cv-i3455
    aflon, Gladys for the estate of La’Kioaftia Caftan              317’Gv.10745         ob1anboig Law PLLC               -




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    amachp, Elizabeth
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  Cambria Wuilam lot the estate of Beverly Cambria
    wneU, Batty and Vearl                                  -        3:17.cv-06963          The Simon Law PC
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     ampbef, Wenda
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   Camp-Gray. Amanda
   Campi, Em                                                        3:18cv-01487           Johnson LswGroup
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   Cinada, Rolenda 1w Thu estate at Mamw Holmes      —




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   Canipo, Natalie
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   Cannon Patricia
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   Contrail, Joseph for the uslahi of Kr,sta) Cantrell
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   Cordello, Gnewna
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   Cardwell, James iàr the estate aiiwiika Cardwell
   Catdwei, Stacy        —
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   Cornea, Julie
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   Carney Margaret
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   Carpenter, Chatlyn
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   Carpenter, Sharon
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   Carpenter. Vicky
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   Cart, Melissa Ann
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   Cart Pamela
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    Carniero. Tanya
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    Carglntn, David Ion the estate of Eteanot Carrlngton
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    Carrel, Alvetta
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    Carroll, Jufla
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    Carroll, tamara                                                                          Onderlaw CCC
    Carson, Carolyn                                                   3i7.CV13S05
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    Carson, Chnsla
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    Carson, Margie
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    Carter Angob
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    Carter, Bonito
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    Cartor. Gloria
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    Carter, Thomas aba Mile Carter
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    Cartet-Cruz, Bernadette Michelle
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    Carver, Paul abc Lisa Carver  -


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    Caslano, Josephine                                                 3:17-cv.-12706
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  CecH, Rebecca
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  Champagne, Cathy and Mark
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    hampton. Mary
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  Chandler. Anna          —
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  Chandler, Susan
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  Chancy, Barbara
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  Che!, Sandra                                                                                                        Levin Simas LIP
   Charnan, Junv                                                                 3:17.cv-03352
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   Charnoff Phyllis                                                              3 IS.cv.00606
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   Chavez, David lot the estate of Marten Chavez          -




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   Chavez, Kimle Leigh for estate of Sharon Lynn Kenne4y
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   Chavez. Laural Ann                                                                                                  OndsdawLl.C
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   Chew, Linda
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   Cho Stephanie                                                                                                        Mores Law Firm PUG
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   Cholewa, Linda
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   Christian. Patricia (or the estate of Dora Fundemurk                                                                 Beasley. Man, Crow, Methvin, Portia. Miles, PC
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      Matlan, Tracy
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      hristman, Kimberley Elaine (or the estateot Beverly Sharon Louthan
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      hudztk, Brittany                                                                                                  The Lanler Law Firm
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      ancia, Adniana
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    Claltay, Barbara and Alan Davis
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      lark, Anita erut William                                                                                          Busily Men Crow U.uwki Portia Miles PC
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      lark. Carol                                                     -


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      turk, Gwendolyn                                                                                                   HarrIson Davis Sleakiey Morrison Jones, PC
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        ark, Ida                                                           -



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      lark, Maria                                                                3:1 7.cv. 11320                                           -




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       lark, Mervin aba Sandra Clark      -


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     Clerk, Nlkkr Lynn
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     Clark, Pamela
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     Clark, Palricta                                                                                                     Johnson Becker, PUG
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     Clark, Sunantha                                                                                                     The Lanlar Law Firm
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     Clarke, Ameala                                                                                                      Don Barrell
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     Clarke, James for Walda Clarke                                                                                      The Lanlar Law Firm
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     Clarke. Linda and David                                                                                             Susie) Men. Crow. Mabtvtn Portis Miles PC
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     Clad Nancy                                                                                                          The Simon Law PC
     Clayton. Zenovle                                                             3:1 7-cv-06699
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     Clear, Carolyn                                                                                                      Deasicy, Mlo, Crow. Mothein, Portia, Miles, PC
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     Click, Margaret                                                              3:1S.cv.01018
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     Clifton. Earl for the estate of Maya McKoy                                                                           Beastey Men Crow Methvln PatHs Miles PC
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     Cfne Cheryl                                                                                                          Busily, Allen. Crow, Molhvln. Portia, Miles. PC
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     Cline, Mary
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     Cloud. Raymond for Lire estate of Ruth Cloud                                                                         Bohrer Brady, (IC
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     Clouer, James rot the estate of Blanche Clouser                                                                      Boasley, Men, Crow, Methvin, Portia, Miles. PC
      Ctuts, Karen                                                                 3:1 7.cv.07627
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      Cochran, Edward for GwanUolvr,,,            -
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  Colas. Linda 0(10 Mary Buaby
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  Colay, Edna
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  Ca!rster, Ethol
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   Collins, Scot (or Esther Collins
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   Calvin, Pamela tar file estate of Susan Colvtn
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   Compaton, David for he stole of Tamara Coinpaton
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     onstant, Katharine
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   Confreres Francisco for the estate of Gloria Ramfraz
     oak, Jannalta                                                     315”av’O0961             Ayletodk, Within, Kreis & Ovethollz
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   Cook, Jerry (or Doris Cook
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    Corea, Peggy and Gary                                               3:17-cu-10766
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      otmlar, Beverly for the estate ot Johnnie Salman
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    Corowoll, Lynn (or Mary Malenick and Frank Mahonlck
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    CarsOtti, Kathleen
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     Cowan, Michael obo Angela Cowan
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   Cutter, Janis and George                                                                                    Onderlew ICC
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    Dalton, Connie                                                                                              The Lanler Law Firm
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   Denim, Denise and Robert                                                                                     Johnson Backer, P1CC
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    Daniels, Kathryn                                                                                            Walton Teilcen Foster. CCC
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    Daniels, Rhonda   -

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    Daniels, Ronnie lot Yvonne Daniels                                    3:17.av.1225g
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    Darr, Marion obo Cheryl Ceregan                                                                             Boastey, Allen, Crow, Mathvin, Podia, Mites, PC
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    Daugherty, Deborah                                                                                          Sanders PiNitips Grossman ICC
    Davenport, Larry Jor thu estate at Lola Mae Daviinpott                 3;17’cv42514
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    Davis, Bletica                                                                                               SImmons Hanly Conroy
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    Davis, Cherie                                                                                                Bessley Mart Crow Meulvin Portia Miles PC
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    Davis, Debra obo Cynthia Ann Kline                                                                           Onder, Shelton, O’leary & Peterson
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     Davis, Kelly                                                                                                Beeslay Mon Crow Methym Portia Miles PC
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     Davis, Robert obo Brenda Carol Davis                                   3:l7cv.10103
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     Davis. Rutharina                                                                                            Burns Charest LIP
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     Davis, Shorica                                                                                              Beastey Allen, Crow, Metbwin, Portia, Mites, PC
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     Davis, Thomas obo Christine Elaine Davis                                                                    Goldenboig Law PLL.C
     Davis, Tosha for the estate ob Shawn Davis                             3:1 7-cv’101?6
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  Dawson, Deborah                                                                                        Ondarlaw LLC
  Dawon, Diana                                                           3:1?-cv-09668
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  Dawson. Scott                                                                                          Bm(ey. Aien. CrowS Mothvin. POriS. ML1s. PC
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  Depldio, Charles for the estate of Xattloor, Daqluio                                                    Napoli $hkololk PLLC
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  Degado. Frances                                                                                         Bums Charësl LIP
  Debut. Helen                                                            3;17.cv-12D80
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  Donning Ranaki for the estate of OUvia Donning
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   Derrick, Eddie Dean for the estate of Shirley Mae Hunt Derrick                                          Boasley, Allan, Crow, Methviii, Portia, Miles, PC
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   Desorcy, David (or the estate of kathleen Desorcy  —

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    Dickey Susan                                                                                            Sanders PhlIkps Grossman tiC
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     DiVonanzo. Sandra                                                                                       Daniel Assodatos ICC
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     Dj Frank for the estate of Nancy OlvIta                                                                 Bohtar Brady, CCC
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   Dotty, Claudia
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   Dole, Robin                                                                             The L,anlar Law F’irm
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    Oyckman, Diane and William                                        317.cv-05130
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      tdrldge, Gordon aba Nancy Eklridqe                                                     The Simon Law PC
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      fdr(dUe, Roy on behalf oh end for the estate of                   317 cv 09628         Baaaley Allen Crew Methyl Portia Mites PC
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  Enrico, Bonny                                                                                        The simon LawPC
    nnguez, Paincia and Victor                                               3:17- v-1Qg96
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     vans. Carla
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     vans, Catalina                                                                                    Gotdenbarg Law PLLC
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     vans. Christina                                                                                   Moralli Law Firm PLLC
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     vans Christopher for the estate eli VicId Evans
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     vans, Cynthia
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     vans. Cynthia                                                                                     Ondarlaw U-C
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      vans. Dorothy
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      vans Vronda Jane
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      verest, Nicole                                                                                    Robinson Catcagme INC
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    Fatten, Clara                                                                                       Potts Law Firm
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    Faik, Janet                                                                                         UeuL5y Mon Crow Methvin Portia Mitts PC
    FaLls CynthIa                                                               3 IT-cv-09649
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    Falls, Lena                                                                                         The Canter Law Firm
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    Famereo. Mary                                                                                       The Canter Law fIrm
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    andulio. Kimberly                                                                                   Ventura Law
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      Ferroll, Glenda                                                                                    Bee&ey Mon Crow Metnvrn Ports Mites PC
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  Firas, Maria Thelma and Ricardo Florus III
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  Floros, Rachel
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  Flowers, Blise tar the estate of Denise Flowers                                     3:18’cv-Ql 635       Moruti Law Firm PLLC
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  Fogg, Catherine
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   Garcia Carmen Sonia Claudia for the estate of Susana Garola Cotta
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    C bar, Sharon                                                                                                             The Canter Law Firm
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    ouPeajveu                                                                                           Boasley, AMen. Crow. Meihuin. Portis, Miles. PC
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  Goldberg, Debbie
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     ante, LudMno                                                                                       Beasley. Allen, Crow, Methvin, Perils. Miles, PC
     omez, Margaret                                                             3:17cv-13436
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     oodalo, Krystel
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     oorje, Diane and Kovin
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   Goodman, Rhoda                                                                                       Beastay, Allen, Crow. Methvln, Porlis. Miles, PC
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     ule, Jolt (or the estate of Jessica Hagsdotn
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   arpet Mary and Ramon Bernardo
   arrafl, Dolores                                                               3:17-cv43823               Onderlaw tIC
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    artar. George tot Patsy Hailer                                                3:1B-cvO142O
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    artDr, Micab for the estate at Barbara Gasperelti
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  Har1wlt. DameS
  Harvey, Jultel and Shawnla Gibson and Teresa Gibson on behalf of the
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  estate of Authoree Cynthia Johnston
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  Hasaka, Roxutrna and Gerald
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  Hatch, Pat_                                                                                                Malay Rice tiC
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     nvlland Debbie and Ttmoltiy                                                                             The Laniar Law Firm
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     swims, Wendy
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   Hayden Theresa                                                                 3 17.ev.07000
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   Hayer, Charles (or the estate of Charlona Hayer
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   Hayes, Jody                                                                    3:l?-cv-10355
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   Hayes Kayfa
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   Hayes, Kelly                                                                                               Busby Mon Crow Mathvin Portia Mile. PC
   Hayes Kimberly                                                                 3 17-cu 10313
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   Hayes, Sharon
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   Hayes. Tammy and Christopher                -
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   Hayes, Veronica
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   Heynas, Dolores                                                                                            Gotvienb.rg 10w PLLC
   Kayhea EJ for the estate of Dadle Kinchlan                                      3 17-ce 11134
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   Hays, Mary                                                                                                 Boasloy Allen Craw Methvtn Petite Miles PC
   Hastawood Kathleen                                                              3 17-cu 05664
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   Hoard, Deborah Ann and Kenneth                                                                             Napdll ShItolnik P1CC
    Hoard, Sandra                                                                  3:18-cu.00430
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  Heifer. AngØa Mario and Mchanl Edward Heifer
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  Helms, Jarries tar rho osialo of Karen Hoim
  Hefion. Ronald obo Sharon Gail HoSori                                            3:1?-cv.10390       Beesley. Alien. Crow, Methvki, Portks. Miles, PC
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  Holveston, Nalasha
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  Hondorson, Henry for Uw eslal Gbrla Henderson
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  Henry. Judy tot Sophie Johnson                                                   3:17.cv-04492
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  Hensj, Connie
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  Herbln. Cynthia
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   Hermiller, Anne                                            ,                     3:17-cu-If 249
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   Hernandaz, Eleanor
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   Hernandoz, Juanita                                                      -




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   Hornandez, Karen                                                                                     Pogustflraalow& MIROd
   Hornendoz, Lena                                                                  3:17-cv-09228
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   Hemandez, Mane and Jose
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   Harnandoz, Regina
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   Høsoux, Jeanne
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   Horrors, Gina aba Hilda Horrors
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   Herriges, Heather
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   Herring. Sharon                                                                                       Levitt Simos UP
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   Horrygers, Ann Made and Randy
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   iflershoy, Thomas for the estate of Gina Zingaro Hershey
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   Herulng, Sharrie
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   Hesotton, Linda
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    Hess. Sue                                                                                            Beasley Allen Crow Methuin Podia Miles PC
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    Hicks, Bert tar the estale IRuby Lee Hicks                                       3:1?.cv.12937
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    Higgins, Debra                                                             -




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    Higgins, Martin and tar Laura Higgins    -




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    Highiower Betty                                                                                      Beasley, Man, Crow, Melhvm, PortIa, Miles, PC
    Hill, Doris                          —
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    Hilt, Hazel                                —:
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    Hilt, Janice                                                                     3:17-ov06735                            -




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    Hill, Karen and Robert Hilt                                                      317cv5032
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    Hilt, Keltie
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     HIP, Perneta                                                                                         Ron Feller Casey LIP
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     Hill, Robert for the estate of Dons Jeanelte HIlt
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     HIS, Sammy abe Sherry Hilt                                                                           Beasley, Men, Crow, Methvtn, Porils, Mite,, PC
     Hilt, Whhemia                                                                    3:1 ?-cv-09738
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     Hiilard Karen
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     Hindle, Patricia for the estate of Jeanette Rodenbaugh
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     Hinds Bessie                                                                                         Banley, Alien, Grow, MeLhvln, Portia, Mites, PC
     Hinds, Kristen oeo Ion Nelson-Hinds                                              317-cv-108I6
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     Hines, Carmel
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     HlrI.Belt, Cynthia and Michael Ball
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     Hlevsa, Dennis                                                                    3:17-cv-03505
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     Hotige Mary Ann                                                                   3 17-cu 10848
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     Hoeller Harry Michael lot the estate øf Jeanne Hoalter
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     Hoff, Laura                                                                                           Baasley, Mart, Crw, Metiwki. Portia, M$es,PC
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     Hogrothy                                                                                              The llanier Law Firm
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      Holcomb, Melinda
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      Holdon CynthIa                                                                                       Bernstein Llebhard LIP
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  Homs, Gregory                                                         31?-cv.O49O7              Johnson LwGtoup
  Hes, Janice                                                           3:1?-cv 13748
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     covet Joeen and Emma Ma:hburn                                      3 17’cv ff66               Baum Hedkmd AfllleI & Goldman PC
   Hopper. Jenny                                                        3:17-cv.12419              Sanders Phi*pe.Grossman LI-C
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     caine, Lossle
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     orowitz Chanel abc Linda Shapiro
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     orion, Crystal
   Horton Deborah Joan                                                  3 17-cv.01 16              Onderlaw ICC
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     oskins, Carol abc Rebecca Goodwin
     oth Kathryn                                                         31 T.cv.09166             Ondartaw ICC
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     otunger. Mary and Oana
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     ouk, Laura and Juslln Houk                                          3;17.cv..12216            SkIkas, Crawfotd, Strikes & Joinph
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     oustan. B. Elaine
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     ogaton, Saflta lOt We estate of Sarah Houston
      award, Ronea                                                       3:t7cv.1221fl              Fleming, Nolan 8 Jez LIP
      award, Tamaka on behalf of Delilah Bums  -
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      owdet Mickey for Batty Howder
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      oweS, PatricIa
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      owery Catherine                                                                               Onderlaw CCC
      ubbard, Kathleen                                                   3:-cv-OB98f
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      uber Mary
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      udgins. Evelyn
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      udoinUsa tot the estate of Jantce Chambers
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      udson, Cassandra
    Hudson Char                                                           3 1?.cv.0#077             Beasley Mn Crow Melhvln Paths MIles PC
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     Iudscn, Donna Mane
    Hudson, Karen                                                         3:17-cv-06988             The Simon LwPC
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    Huoti, Odessa
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    Hull, Pamela Sue
    Hutlrnan Karen                                                        3 17’cv 13833             Ondertaw U-C
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    Hugins, Sandra
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    Hughes CynthIa
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    Hughes. CynthIa and James
                                                                          3 1l-cv 12668              Sanders Phlmj)s Grossman CCC
    Hughes James Mike for the estate of Malone Hughes
                                                                          3:1?-cv-08983              Ondarlaw CCC
    Hughes, Janet
                                                                           317-cv 12846              Jones Ward PLC
    Hughes Mary Sue
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     Hughes, Rodgor tot the estate of Deborah Hughes
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       ughns Tommy Otto Cynttila Hughes
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     Hundley, Shecyl
     HiEDebra                                                              3:17-a-10128              The bnierlawFfrrn
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     Hunter James Martin for the ustala of Kimberly Denise Hunter
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     Hunter, Lisa Jetterson for Flora Bet Carter
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     Hunter, Pamela                                                                                   Beaslay. Alan, Crow, Methvtn. PortIa, Mllas PC
     Ilursin, Karen                                                        3:1 Y-cv-08294
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     Huichinson Andrea
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   zzo, Debra                                                              3:1?-cv-11579           Morefli Law Arm PUC
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   Jackoñ4 Cynthia                                                          317-cV32803            JóhnsoáSsdcIr PU,C
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  Jackson, Debra
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  Jackson, Lois                                                             3i7.c-12639            The Skkon Law PC
  Jackso, Marl                                                              3:17.cv-06720          The Simon Law PC
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   James. Elizabeth                                                         3:1 S.cv-00547         Johnson Becker, PLLC
   James, Karen                                                             3:1?cv.0g04O           Benley. Men, Crow Mthvin, Porlii. Miles. PC
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    Jay, Deborah                                                             31?.cv-09046           Biesle, Men Crew, Mthvln. Puta, Mites, PC
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    lay, Dolores
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    Jefam Deonca for the estate ci Lute Ussery
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    Jeffrey, Emily
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     Jenkins, Ralph for the estate ci Delta Mae Jenkins
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    Jenks, Gary for the estate el Feye Jenks
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     Jensen, Craig for the estate of Kaymarie Jensen
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     lenen Dagmot                                                                                   Johnson Backer, PLIC
     Jensen. Lart                                                             3:78-cv-00548
     Jolt, Cindy and Dean                                                     3:17.cv’06533         The Lshi.rLaw Firm
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     Johnson, Barbara                                                  —




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     Johnson, Cindy
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      Johnson, Denise                                                          3:1?-cv-13834         Ondedhw LLC
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      Johnson Elizabeth                                                      3 17’ov 10381
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      Johnson Gary tot tho estate of Rebecca Johnson
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      Johnson. Josephine
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      Jonnson, Kara                                                                                  ThsLailJerLWs’Ffrrn
      Johnson. Kasey                                                         3:17cv0l313
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      Johnson. Linda                                                   —




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 Jonas, Brenda
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    ones, lcalhndn.
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  Jonas, LaBronda
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    ones. Laura
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    ones, Lee Ann
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    ones Marie and James
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    onus, Matk for the estate of Ramons Jones
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    ones, Rhonda
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  Jones, Rhonda
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  Jones. Susan                                                --




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   Jonas, Tanya
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   Jordan, Badyre                                                                3:18’cv’00549               —




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   Jordan, Beverly
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   Jordan, Carol                                                                                                       Oderlaw CCC
   Jordan, Ginger                                                                3:17’cv-00S55
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      ordan, Lois
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      ordan, Rhonda
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    Joseph, PatricIa
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    Judd, JoAnn_                                                                                                       The Lanlur Law Firm
    ludklns. Christine                                                           3:i7-cv-08320
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    Jugo, Margarita
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    Kackloy, Deborah                                                        -



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    Kaczmanek, Debra Lynn
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    KaldrovEcs, Elizabeth and Michael
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    Kalman, Donna
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    Kaminaky lye
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     KemlItz, Rhonda
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     Kane, Robin                                                   -:




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     Kaough, Sharon Veronica
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     Ksrawettan Sandra
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     KathShnran                                                                                                         Potts Law Firm
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     Krnp Floyd tot tIse estate of Virginia kaup                                                                        The Lahertew Firm
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     Kayon, Todd for the estate of Mary Jill Kaylon
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     Kayzer. Tono4a                                                                                                      Ssnglutty Law Firm
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      Kealhng, Edward Thomas (or the estate of Joan Marie Keeling                                                        Pan Barrett
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      Koeno, Robortn                                                                                                     Beasley, Allen, Crow Mettivin, Portia, Mba, PC
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      Koosee, Michael atia Melissa Keosee                                                                                The Canter Law Firm
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  Kelly, Evelyn                                                      317-cv-09134                         BeasleV, Allen. CrowMethvln, Paths. Miles. PC
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  Kelly Pamoila                                                      3.f?.c10665                          Beuley Alan. Craw Memvin PorEs MIles PC
  keish, Deborah                                                     3:17-cv-10854                        The Lanler Law Firm
  Kennedy. Janet oho Norms Pzyb)4owlcz                               3:1?-cv-t33D6                        Baron & Budd PC
  Kennedy, Shennon                                                   3:iO.cv-00320                        Onderlew LLC
  Kennedy. Susan                                                     317-cv42542                          The Simon Law PC
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   jCathne                                               -           3.1Bcv0O557                          Johnson Becker PLLC
   oy. Cociha                                                        3:17-cv-11958                        MoraB Law FIrm PLLC
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   haury. Dentist. and Victor                                        3:17-cv-1O?0i                        Walton Telken Foster ICC
  Kld, Kely                                                          3:I7csr-02263                        Johnson Becker, PLLC
  Kietbass, Kathleen and Daniel                                      3:77-cv-1W42                         Mcrotli Law Firm PCLC
  Kietatra, Nancy                                                    3:I7-cv-11335                        Had U .auMn & Eldiide
  KKathd MactIn                                                      3:1 ?-cv-10075                       The Lanler Law FIrm
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  Kilo. Karl Taylor tot the estate of Carol Taylor           —       3:17-cv-05919                        The Simon Law PC
  Kttma ,Ko enbehaWot and for the estate or Carol Camp                3:1?.ev-06745                       The knon Law PC
  Kimmel, Patricia                                                    3:17-ce-f 0575                       Beasley, Allen Crow, Melhvln. Porthi, Miles. PC
  Klnbotger, John aba Cynthia Kay Kkiberger                           3:17-cv-0914ll                       Beasley, Allen. Crow, Uethvln, Paths, Miles, PC
  Ktndley, Linda                                                 -    3:17-cv-06708                        Motiey Rice ICC
     ng, Athata and Maureen McConneck                                 317-cv.06735                         The simon Law PC
  King, Cindy                                                         3:17-cv09149                         Beasley. Allen, Crow, Methvin. Paths, Miles, PC
  Kin. Ir,, James tot the estate of Syiiil Louise King                3:11-ce-I 1710                  -    Gobmb a iionioi PC
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  King, Thrth lot the estate of Eileen Adams                          31?-v-I2009                          TorHootman Law ICC
     nnolrd. Lynda                                                    3:17-cv-0630T                        Envttonmonlal LWgnllon Group
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     flt2. NCOIO                                                      3:17-cv-09378                        Beasley, Allen, Crow, Mathyin, Porh, MUei, PC
     rby,Mldislle                                                     3 1?-cv-08428                        The Lenler Law Firm
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     rk, Eva
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     rk, JanIce
  KirkpatrIck, Carmen                                                  3:17-cv-07650              —        Slack & Davis LLP
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     rksoy, Linda
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     car, Angela
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   Kissing, Sandra
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   Kline, Wendy
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   Knapp, Pamela
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   Knight, Kristal
   Knight, Mary for Mrste FuIton                                       3 17 cv.02910                        Burnll,aresi11,_,,,
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   Knudsen, Theresa
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   Knutson, Joyce and Jon Pearson
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   Kocher, Carol
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   Kot’tlor, Lenore                                                     3:17-cv.Qf 666                      Parker Welchmsn 119
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     oppenhaver, Tracy aba Ghana Bishop                                 3:17-cv’10723
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   Komackt, Theresa
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   Kommen, Terry
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     dsilck, Nancy                                                      3:1 8-cv’4)0428                      Napoil $hkolntk PLLC
     owsflwskl, ZJna and John                                           3:1 7.cv.06568                       The Simon CwPC
   Kolerass, Mona                                                       3:17-cv-09385                        Beasley, Allen, Crow, Molhvln, Portia, Miles, PC
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  LamoUe Cheryl                                                                  3                         Ondanliw CCC
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  Landrum, Freddie for the estate of Ela Blanks
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   Lawrence Kathleen                                                              3 i7cv 10411              Beasley Men Crow Methvln Portia Miles PC
   Lawrence. Martha                                                                3:1Tov’086S2
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    Layton, David tw the striate of Linda Layton                                   3:17.cv’408?6
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 LeFora. Brandy obo Sarah Johnson                                             317cv-08a22                                     Beasiey, Men. Crow, Methvm. PatHs. Miles, PC
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 Conan, Susan                                                                 3:17-cv-12222           —                       Potts Law Finn  -




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  Leone, Rosemary Ciulia                                                       3:17. v”04S1                      --           Bees$yAilán, Crew, M(ftvin, Podia, M4OSPC
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  LoPaga, Wendy
  Lapkowski, Linda Sue and Kenneth          -
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  Lewis, Lithe and Darrell                                                     3:17-cv.06354                                   The Simon Law PC
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  Lewis, Painda
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   Lewis, Stacy
   Lewis. Tracy                                                                 31 f’cv-jQ85                                   BeesIy, Men, Crow, Metiwin, Podi, MHs, PC
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   Lilly, Mary
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    Lindsay, Donna                                                                    3:17-cv.09458
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    Unflld, Brenda and Warren
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    Unn, Gail
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    tiarmes, Debra
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    Lloyd, MOry and John Bailey
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    Loblanco, Down and Frank
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    Lacko, Gloria                                                  -




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    Locklanc, Mica (or the estate of Bernice Locklear
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    Locklear, Gerokline                                                                                 -




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    Locklear, Harold for the estate of Viigtnla Cockiest
     Lode. Lottie                                                                      3;l7,cv.a09g                             B.ssley, Alien Grow, Memviq Ports, Mites, PC
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     Lohus, Angola and Gerald                                                          3:1?.cv.10880
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     Logan, Brenda Kay    -
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     t,qgen, Maria                                                                                                               Law Firm of Roger “Rocky” Walton, PC
     Logan,_Patricii and Michael for thu estate of Shirley Ann Logan                   3:1?-cv-08938
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     Lan, Shunteka                                                                -                          -




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     Long, Aundrey for the estate of Crystal Long
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     Long Glenda
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  Lopez, Masitza                                                3;17-cv.U6SU7               Beaa)ey MOn. Crow. Muthvin, Portls MIe. PC
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  Lovajoy, Diana                                                3:17-cv.09170               Onderlew ICC
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  Lowo. Gloria and Robert                                        3:l7cv13218                Potts Law Firm
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  Lucas. Bonnie for the estate of Cresr Lucas                    3:1-cv-12424                Sanders Philpa Grossman CCC
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  Lucas. Gertie
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   Lucas Jacquekno for tile estate of Jo Mn Napier
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   Lucas, Vostina
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   Lukey, Kayffi aba Carrie Dugan Perkins
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   Lone, Edith
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   Lyerla. Ronald Leo aba Kathy Kay Lyons
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   Lynch. Jennifer
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   Lynch. Kathleen
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   Lyons. Marie
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   Lyons, Steve
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    Mack Gary for the estate of Nancy Jean Meok
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    Mack, Lynde
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    Mackay,Cora
    Macmurphy. Christina and Shawn                          -      3:1?-cv.05700              Pogust Brasiow& MWod
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    Madison, Donna Davis obo Vera Davis
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    Mahiort, Diane
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    Mehoney-Se*Lon Jeannine
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    Malden Connie
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    Maine Michael for the estate of Deborah HackattMaine                                       Beasley. Allen, Crow. Methvtn. Portia, Mites, PC
     lylalocco, ica                                               3:17.cv-09319
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     Maim, Kathryn
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   Match, Arthur aba Caroline Malall                                      3:17.cv.09494                    Beasby, Allen1 Crow. Uothvlo, PerIls, Miles, PC
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   Matoyurts, Jort on behalf of the estate of Lorefta Matayunae
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     ay Myra.
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      ey, Penny
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      aye. Roger and RIchard for the estate of Margaret ]oann Maya
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    McAlexander Alice añiUewis                                                                              Gotomb P Honick PC
    McAllster, Valerie                                                      3:17-cv.10418
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  McDowell, Judy
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   uon, Jean
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   McGarvey Teresa                                                                         Andrews Thornton Higgins Razmara LIP
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   McGee. Brenda
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   McGhae, Deborah                                                                         Beasley, Alien, Crow, Metnvnn, Porlli, Mites. PC
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    MeGuwo, Theresa tar the estate at Maria McGuira
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     McLean, Majestic                                                   3:17-cv-09706
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     MCLêeren, Andrea                                                                       Beaslay. Men, Craw Mathvln, PortIa, Miles, PC
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     McLucua, Cheryl
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    McMullen Nancy                                                                          The Simon Law PC
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    McMurray, Beverly
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       ddauh. Dakota ouo Donna Middaugn                                     3:17-cv-10549            Beasley, Men, Crow, Malhvin, Portia. Miles, PC
       dKII(, Brenda                                                        3:11’cv-13540            Onderlew U-C
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       or, Kimberly
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         er, Mary                                                            3:17.cv-OBe6            Beasley, Allen, Crow, Methvln. Paths, Mites. PC
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         hr. Witle for the estate of Nancy Lester
         tngi Sunny                                                          3 i8..cv-0t450           BsaAllen Crow MathvIn PortIa Mba PC
         Ipon, Ray for the estate of Kathleen MilSeon                        3:1B-cv-00363            MoreC Law Firm PLLC
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        nix, Veronica
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     Moak, Barbara tar the estate of Margarel Balikar                         3:11-cv-06450     -     Baum Hedkrnd ArtsleIL Goldman PC
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     Motvuboür Sara for dye estate of Dolly Manger                            3 1?-cv 10382
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     Moilna, Dawn
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    Monroe Carol
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    Momory, Chariano
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    Montoya, Aide
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    Moon Nancy
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    Moore, Billy for the estate of Norma Jean Moore
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    Moore, Deanna
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    Moors, Donna
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    Moore. Erlka
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    Moore, Leone
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   Dora, Rose                                                         3:17-GvO5138               Robinson Calcag&e INC
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   oren, Corette
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  Morgan, Doiothoa                                                    3:1 7-cv1 102D             The Simon Law PC
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  Morgan, Regina
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  Mongi Mlhony as personal representative of Kathleen Modgl           3 1 7cvO82?                Don Barrett
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  Morris, Use
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  Moms, Mary
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  Morton, Angela
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  MoyurNetson for the a .ata of Wanda Leo MartIn
  Muoter, Scott for the aefate of Rachel Mueller                      3:1 1-cv.0g552              The Canter Law Firm
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  Murray, Gloria and Anthony                                  -




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  Murray. Judith
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  Murray. l<tmborly and Roboii
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  MurrOy. Mary
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  Murray. Melissa tot the estate ci Beverly BLack
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  Murrea. Gomann
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  Musprave. Cheryl
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  Musgyjod Alan tot Pamela                                                                         Onderlew CCC
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  Myer. Phyllis
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  Myprs. Leans for the estate ci Phyllis Myers
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  Myers, Manly
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  Nagel, Kathleen and Larry Nogel: Cassandra Stephens
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   Nepler, James obo Donna Naptar
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   Noson, Yvonne
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   Nasatit Edwin for the estate of Gloria Nassiff
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   Nathan, lynn
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   Nathan, Roshone
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   Neat Mary
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   Neat, Michelle
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   Noate, Ron for the estate of ]una Robertson                                                      Beasley, Alien, Crow, Methetri, PortIa. Miles. PC
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   Neff, Elizabeth
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   Nelson. Douglas for Joanne Nelson
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   Nelson, Janice Louise                                                 3:tl-cv-13756               BeasleyMon, Crow, Mothvln, Perils. Mitas, PC
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   Nelson, Laurie       —
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 Nowiln, Janet                                                                3:tS.vOO54                 Moms Law FIrm PLLC
 Newport. Karen                                                               3:17-cv-08155              The Carrier Law Firm
 Newton, Cynthia                                                              31Z-cv.1O833               AshaaR 4 GarelL P       -




 Niba, Florence                                                               3:17cv41035                The SImon Law PC
   Ico Susan (or the estate ot Tiffany Poskiwiy                               3 1 l’cv-10?63             Ashctaft & Grol (iP
    chole, mane                                                               3:17.cv-12574              Sanders Philips Grossman LLC
   lehols, Verne                                                              316-Cv.005$                MoraN Law Finn PLIC
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    cholson, Susan Lee
 Nlcoian, John obo Mary Lea Nicolan                                           317-cv4O820                Beasley, Alien, Crow, Melhvln, Perils, Miles, PC
 Nicotra, John for the estate at Cindy Nicoira                                3:17-cv’09412              Ondertaw hG
 Nielson, Mary Alice                                                          311.cv-1f783               MoUsy Rica LLC
 Nail, Leilda                                                                 3:18.cv.01014              Napol Shiroknic PLIC
 Nixon. Robin                                                                 3:1$.cv.OQIOQ              Chappal. SmIth 4 Arden PA
 Noble. Tracy                                                                 3:i7-cv05331               Johnson Becker, PLLC
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 Norman, Linda and Patrick
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 Norris. Sheila                                                                3:1?-cv-06475              Bums Cflareel LIP
 Notion, Rebecca                                                               317.cv.04300               Ri Feler Casey LIP
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  Nuna, Laurie                                                                 3:17-cv-097f 0    -        Bestey, Men, Crow, Methvln PerIls, Miles, PC
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  Oakes Josephine RIta                                                         3 17-cv.06U68              Lavin Slain LIP
  Oakley, Thomas (or Rebecca Oakley                                            3.17-cv-10119              Robinson Calcagiile, INC
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  Ochoa, Arteen (or Ana (3nta, Enrique Vicente Octrea Jr as guardian ad
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  O’Connell, Arinomatie and Edward
  OConnol Rgbort for the estate at Laura Oconnoll                              3 17-ce 12S35                 Paid CI,P
  O’Connell, Traci                                                             317-cv-12722                  Onderlaw 1CC
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  O’Connor, Kathenna
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  O’Connor Melanie
  O’Doar, Lois obo Jacqueline Simmons          -
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  Odom. MarIon Joe for Trudy OrSon
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   Olphanl. Deborah
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   Olvsrez, Rebecca Lyn
   Oliver, Ahbte                                                                3:17-cv-09995                 Beasley, Alien, Crow, MetlMn. PortIa, Miles, PC
   Otlen, Mary                                                                  3:17-cv-09759                 Beasley. Allen, Crow, Met)Mn, Perils, Utlas, PC
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   Olmitad, Roger for the eatata at Janet Rlegeacker
   Olson, Shall                                                                 3:1 8-cv.00537                Burns Charest U
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   O’Nan, Virginia
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   cyNooi Melissa
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   Orecchie, Levinla
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    Ctelana, Kathleen and Gabriel                                         -




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    Orarn, Laura and RIchard
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    ørmond, Amber
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  Owens, Betty                                                       31TcvCS4OO           The Lanler law FWm
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  Owens, Deborah Deno
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  Oxendine. Wendy (or the estate of Christine Harris Oxandrne
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  Pacheco, Jo-Mn
  Pacheco, Nicole for the estate of Tracy Morgan                     3:17-cv-12720        Miller Firm dC
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  Pech(, Roberta
  Pcilfi, Rosemerle                                                  3:17-cv-O?23J        Burns Chareet LIP
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  Packer Victotta
  Padilta, Francsco, for the estate of Marta Cnshna Lopez            3:1 ?-cv.i2g42       Paul LIP
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  Paddle. Richard før me estate of Dora Padlile
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   Paige. Susan
   Palaios. t)ia                                                     3:17-cv.08146        Maslàpoulö Liw Firm           -




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   Patatox, Diana
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   Pafmer, Cyntnla Ann
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   Palmer. Ron
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   Palub, Sally
   Palumbo, Belay                                                     3:17-cv-10727        BliZzard Law        -




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   Palumbo, Pamela
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   Paniagua. Anastasia for the estate of Manuela Maria Dtaz
   Pantoja. Priscilla                                                 3:17-cr40020         8.ui.y. Allen, Crow Mernvin. Perils, Miles. PC
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   Papa, Victoria
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   Ppp-Roche, Evelyn
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   Parandian, Soudabh
   Pares Gma                                                          318-cv-01240        llmmonsHenlyConroy
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   Pare. Michael for the estate of Cynthia Pare
                                                                      3:18cv.01506         Johnson Law Group
    Parigher, Pamela
    Park, Rile and James                                              3:17.cv-10299         Robinson Calcagnie, INC
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    Parker, CindI Ann
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    Parker. Claire
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    Parker. Madeline
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    Parker Robin
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    Parker, Tyrono abc Sherry Ivory
    Parker, Wande                                                      3:17-cY-07565        Bums har$ LIP
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    Paris, Anthony br the estate of Nancy Ann Patla
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    Parmenlier, Lawrence
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    Parrish, Mary                                                                     -




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    Parsons, Samantha aba Virginia Parsons        —
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    Parsons, Thurman obo Kathy Jo Parsons
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    Parlen, Billie
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    Paaander MarIlyn
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    Pastemack, Beverly      -



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    Pátemak, Marilyn
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     Pettno Kathanne
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     Patrick, Barbers
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     Patterson Annie
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     Patterson, CecIlia
     PatterSon, Deliata                                                 3:16-ce.OUI$-FLW.LHB0n& Bud& PC
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     Patterson Ronald for the estate of Katherine Patterson
                                                                        31?-cv-09271         OndertawLLC
     Patteriàn, Suzanne
                                                                        3:17-ce- 10487       Beasley, Allen, Crow. Methvln, Podia. Miles, PC
     Ptiarson, Suzanne
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     Paul Deborah
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     Patton, Audy for Inns Lynelte Jones
     Paul Michael on behalf on the estate of Cola Paul                  3 I?.ov’0936?        The Lsnlerlawkm
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     Paulsen, Debra
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     Pawlow Jeanotie                                                     3 17-cv.08071
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     Payne, Kay
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     Payne Michelle
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     Payne, Sheila
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  PeN. Slannon and Erik                                     —     3:1 7-cv101 11            The Lanler Law Firm
  Pattatter, Kelly                                         —      3:17-c’w-09758           Johnson Law Group
  Pettier. Paul obo Jerr1 yvie Pettier                            3:17cv-101D5             8eazley. Men. Ctow. Mthvln. Ports. Miles, PC
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  Ponninglon, Nancy and Edward
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  Peoples, Snares
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  Parers, Jean
  Perez, Cyt5                                                     3:17-cu-Of 643            Ross Feller Casey LiP
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  Perkins. Kimberly                                               3:t?-cv-11863             Law Finn otRoger’Roclcy’ Walton, PC
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  Perkins, Michelle
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  Pork, Paw: for the estate ci Mary Perks
  Peodoty                                                         3 17-cv-10335             Robinson C&caonie. INC
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   Penny Sarbat
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   Penny, Karen
   Parry, Suzanne                                                  3:17-cy-12513            Johnson Bãckr, PU.C
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   Parry, Trova
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   Peters, Kim                                                     3:17-cv-12480            Johnson Becker, PLLC
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   Paterson, Choryl                                                3:17-cv-O63               Ondedaw CCC
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   Pon,NarecEk!uth                                                                           Dan Barrett
   Petersen, Paulette                                              317-cv.11497
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   Patttdes, Andrea
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    Pevraro, James for the estate of Jane Payeraro
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    Ploiffor, Ellen
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    Phalen, Susan and Patrick Phalen, Jr,
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    Phillips, Murcie                                                3:17-cu-10463
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    Phillips, Madtias (or the estate of Meredith Chapman
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    Phillips, Richard fo Kay Waterhouse
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    Phillips, Sharon
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    Phillips, Valerie
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   Plscik, Teresa
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    Pike. Linda
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    riiipit Jonathan for the estate of Jocelyn Pllapil
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    Pimental, Chersi
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    Piment1, Eleanor for the estate of Nancy Tracy
                                                                   31?-cv-0S431                Beasley Men Crow Melhvtc Portia Miles PC
    Pinhetro Carmen
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    Plotner Robed for the estate of Deanna PlaIner
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      heIeon
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     Pollard, Peggy                                                 317-ce-OO773
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     folly, Helena
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 Powot. Debra                                                     3:l7cv-09388            Beesley, Allan. Crow, Melhvin PocUs, MUss. PC
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 Pøwors Geneva                                                    3 7cv 09384             Beasley Allen Crow Methvln Portia Mit*s PC
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 Prasti, Theresa                                                  3:16-cv.00562           Johnson Becker, P1CC
 Pratt. Cathy                                                     3:1 7-cv-f 2233         8eatey, Allen, Crow, Methvin, PortIa, Miles. PC
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 Presley. Sandra
 Preston, Dianne                                                   3:17.vv.08426          The Canter Law Firm
 Presworsky, Paula                                                 3’l7-cv-08??O          Onderiaw LLC
 Pnevo, Deborah                                                    3:18cv.O1236           Simmons Hanty Conroy
  Primmer, Jeannoita                                               3:11-cv.09647          Onderlaw LLC
  Prince. Mlleneue                                                 3:t8-cv-00563          Johnson Becker, P1.10
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  Prince, Kenya Diana       -




  Prince, MatvaU William                                           3:1BcvCO714             Ness Cencelliers Brenner
  Ptinle, Maryladone                                               317’cv-06766            The Simon Law PC
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  PrItolatd, Donna
  Proctor, Cynn                                                    3:17.cv-09766           Boasloy. Allen, CIOW, Metrivin, Portia. Miles, PC
  Proctor, Joan                                                    3:17-cv-0g373           Burns Chareat CLI’
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  Provonza, Domenic,s for Karen Cannice
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  Prulett, Juanita and Tawana Smith
  PrunlyAntomone and Robert                                         S 11-cv.4)6658         The Simon Law PC
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  Pyoi, Cynthia and Steven
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  Put ski, Jennifer
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  Pugh, Sindy
  Püluki, Michole                                                   3:17-cv.08289          Hausfeld
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  Pulley, Klmbqrly
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  Pullman, Marjorie
  Pwdy, Joseph tot the estate ot Linda Purciy                       3:1?-cv.10371          The Canter Law Firm
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  PuLz, Christine
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  Pybom. Cindy
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  Pyrain, Michale
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   Queries, Cindy
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   Qulgley, Marten
   Quint, Frances                                                    3:17-cv-12309          Don Barrett
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   ONany and Thomas
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   Cuinones Rivera, PrisciLa
   Rabaçjo Linda for the estate of Resin Reese                       3 1 1.cv 12685         Sanders Phillips Grossman CCC
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   Rabasca Linda and Joseph
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   Rabum, Denise and Danny
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   Retina Brenda
   Rackov-Toklch, Nellie                                             3:17-cv-083d5          Beasley, Allen, Crow, Mothvln, Portia, Mites, PC
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   Rackow, Janet
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   Radomacher-Hamiiion, Tracy
     ader Sharon                                                     3 17.’cv 10409         Morlil Law FIrm P1CC           -




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     alney. Mdana
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   Rans, banns
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     ekozy Kelil Bait tot the estate of Pamela Ball
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   Rumba, Patricia
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     amay. Daneen Remiss
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     amjrez, Càml
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     aniiz Cedlee on bohati of the estate of Robin Anderson
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   Ramlrez, Merle D&eaua
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   Rames, Luisa
   Riii Shirley                                                       3 18.cv4OI 05          Chappd, $mlth 6 Aiden PA
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    Randall, Nicole
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    Randall, Sharon
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    Randall, William for Mary Randall       -—




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    Ranzle, Dalores
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    Repose, Nicole
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    Rashba, Paul for the estate of Linda Sarah Ftashta
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   awl Detoreh                                                               3 7cv.D9161                     OndatIawLLC
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    y. Mary
   e, Jaion for !tw* etale of Llzz Marie Phlppi                              317.cvO5174                     Lsvln Sknes UP
   as. Mary                                                                  3:17-cv-1 1291                  Simmons Hanly Conroy
   ende, Vlclona                                                             3f?-c*02265                     Johnson Becker, Pl.IC      -




 Regan, Paul bc the aetato of Rae Jean Reagan                                3:17cv-i1477                    Polls COW Firm
   ebstock. Tern                                                             3:17.cv.lOOlg                   B.uIey, Allen, Crow, M•thvln, Perils, Miles, PC
   ecek, Marilyn and Darryl R.ccok. Sr.                                      3:17-cv.0862g                   The CenSor L*w Firm
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   eddix, Shorn                                                              i?.cv-1o4a1                     Beasley, Allen. Crow, Msthvln, Portl, Miles. PC
   edman, Kathleen                                                           3:1?.cv-12340                   Don BatrK
   admond, Ronald for the urtote f Bamara Reamond                            3:17.cv-1O1Th                   Ashcraft & Geret UP
   edondo Julia end Jw Marmot                                                3 17’v 0653$                    Baum Hqdlund Arislel & Goldman PC
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   ecU._Karen                                                                 317-cv-0752                     Golomb & Honick PC
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 Ravos. Susan                                                                 3:17-cv12339                    Boastey, Allen, Crow, Methein, Paths. Miles. PC
 Roilslock, Richard for the es(aluofSaliyRcuiiateck                           3:17.cv.10787                   Aaha*tt 8 GerelLLP
 Redly, Kathleen and John                                                     3:1 7.cv10085                   The Linler Law Firm
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  Reinhold, Marilyn                                                           3:17-cv-ô8725                   Fleming. Nolen a Jes LIP
 Reison. Joycatyn                                                             3:17.cv-09785                   Beule, Allen. Crow, Melhvln, Portia, Miles, PC      -




  Rammer. Linda                                                               3:17-cv.08103                   Beulsy.P,en, Crow, MelhvIn.Porlls. Miles, PC
 Remmereld, Deborah ane Paul Martin Remmoreld                                 3:1 ?-c,i.05014                 Levin Sines UP
  Riicsr, Ohs for the estate of Dorothy Rencher                               3:17.v-10174                    Ventura Law
  Rendleman, Micholle                                                         3:17-cv-0830*                   Beasley, Mien, Crow, Methvin, Pots, Miles, PC           —




  Renessu, Brown                                                              3:1?-cv-10268                   Beasley, Allen, Crow, Metiwin, Portia, Miles, PC
  Rent’, Jerry Susan                                                          3:17’cv’02$6$                   Motay Rica I.LC
  Resuroccion, Baton Romeo                                                    3:1 7.ev- 12587                 Sanders Phillips Grossman CCC
  Router, Betty                                                               3:17-cv.08164                   Ondedawl.LC                       --




  Revolt, Sheila                                                               &17-cv.09344                   Beasley, Allen, Crow, Methvln, Porils, Miles. PC
  RevIs, Anita                                                                 3:17cv.D44                     ErlronrnentaUllgalionGroitp            -




  ReyMoUna, Beds                                                               3:17.cv.0U334                  Beasley, Allen, Crow, Metilvin. Portia, Miles, PC
  Reynolds, Donna and Ellis Reynolds                                           3;11-cvl06Th                   Kllhe & Specter PC
  Reynolds. Frederick tot the estate of Charlotte Reynolds                     3:i7-cv-07594                  Potts Law Firm
  Reynolds, Patncls                                                            31?’cv.11621                   Bianar Chase
  Reynolds, Re9Jna                                                             3:l’l.cv.06093                  The Simon Law PG
    eynolds Robbl• and Pelor                                                   3 17-evOGQ2                    Th Lanler Law Firm
  Rhoeda,Pam&aandGuy                                                           3:17cv-11235                    TheShnanlawPC
  Rice, Channel                                                                3:17-c’r’05?1$                 The Sinon Law PC
  Rice. Mlchell                                                                3:1 7cv-10652                   Ondàlàw CCC
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  Richard, Gwarsdolyn and Timothy                                              318cv00310                      Polls Law Firm
  Richards, Carolyn                                                            3:17.GV.13840                   GndenlawCLC
  Richards. Connie Wilson                                                      3:17-cv-10830                   Sanders Phillips Grossman CCC
  Richardson, Cortisha end Kamart Fair                                         3:17.cv.11366                   Oclemb 8 Honldk PC
  Richardson, Deborah                                                          3:17-cv-12896                   McneIl Law Ftm P1CC
  Richardson, lIoness                                                          3:17’cv4173$                    The Dugan Law Firm PUt
  Richardson, Sonys                                                             3:1 1-cv-12948                 Paul LIP
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   Richardson, VeronidS
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   Richardson, Victoria
    lchburg, Kimberly                                                           3:1?”cv.06694                  The Simon Law PC
      chmond, Calosha                       —
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   Richter Carla
      ch.Wtiiams, Ada                                                           3:16.cv.05489                  Richard R, Barrett P1CC
     Fcketti, Connie                                                            3:1T’cv.12682                  Beasley. Mien, Crow., Metheki, Portia, Miles, PC
   Ricketis, Kathleen                                                           3:l8.cv-00232                  Burns Chirest LIP
     icks, Lloyd for iEis estate of Coboen Ricks                                3:17.cv-06302                  Oñdár, Shaken, Oleaty & Peterson
      cks. Martha                                                               3:17.cv-05622                  Wo*ler Wallace LIP

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  Rillal, Christina                                                      -     3:1 Tcv-10560                     Ondenlew CCC
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  Rimondi, Ricardo and P;ar                                                    MOL-L-02912       -               The Canter Law Firm
  Ringle, Pautcia                                                              3:17cv’1113S                      GoHanber Law PUt
  Rink.. Murk for lhO estate of Etn Beth Benson                                3:17.cv.03153                     Motley Rice CCC
  Rico, Charles for the ostale of Debra Rios                         -         3:i?.Cv10i3                       Gpldenberg Law PCLC
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  Rics. taubule for Denise Tortes
  RHchle, Judy A. Terry Leo, Todd N,, Jason M. and Janolto Story               3:17-cv4Sflf                      Baum HedkmdMstel 8 Goldman PC
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  Rizzi. Pamela                                                            3:17.Gv.O664!_             CbEIde Schluetw & Smuh LLC
  Røach Jonn                                 —                             317-cvO9778                BEsey Men. Cmw MeUwin, Potlt, Uu, PC
  Robbn. Mar5h and Jerry                                                   17-cv.O822    •            Uw 1aner taw Ffrm
  Roberts. Jane                                                            3:17-11410                 Ondartaw LLC
  Roberts. Usa Mario                                                       3:1 1-cv-O32B              Beastay. Men. Crow4 Metiwin, Po(ils, Miles. PC
  Rborta Michael or the eState ot          Roerts                          3 17 cv-0?38               Mown Hood & Fkter LLC
  Roberts, Michete Leo                                                     3:17-cv-08351              Oncietlaw dC
  Roberts. Stacy Sonn                                                      3:i$cy.O0?S1               Beestey, Allen, Crow, Methyin, Poflla, Miles, PC       -




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  Robertson Denise                 —
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  Robertson My_                                                            3:1 7-cv.O656              Onderlaw CCC
  Robertson, Ruthta                                                         1:17.cv-1291e             VenlurS Law
  Robinson, Alice                                                          3:17-cv-10447              Galomb & Honick PC
  Robinson, Carla                                                          3:i?.cv.09820              The Canter Law Firm
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  Robinson, Carol
  Robinson, Charlene                                                        3:i7-er-0G762             Th Sbeon Law PC
  Robinson, Donald tot the esiale at Lannie Robinson                        3:17-cv’09524             Bums Charest LIP
  Robinson, Glaly5                                                          317.cv.127O2               Morel Law Firm PLIC
   Robinson, Karen for the estate of Alice Fayn Evans                       3:17-cv-10572             The Canter taw Firm          -




   Robinson. Ronald tor the estate oil Joan Robinson                        3:llcv-1113e              Goldenberg Law P1CC
   Robinson, Valerie                                                        3:17-cv.106?7              Burns Caeresl LIP
   Robins, Angel for the estate oil Gladys Sanatwla; Judith Robins; Mera
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     odgers, Anthony for Iha estate of Jul Ronea Klein                     3:lacvl)0436               Morgan & Morgan Morgan S Morgan Compies Uligatlon Group
     odrigue, Claudia                                                      3:1Y’cv-10014              Boasley, Allen, Crow Methvrn. PortIa, Miles, PC
     odrtguez Cotta, Maria                                                 3;tl.cv-126g4              Senders Ph)lkpa Orossmen LIC
     ooriguez Gloria Aponte for the estate of Refuglo Fajarda              3,1 ?-sv.05371             Berstem Liebhwd LIP
     odr’iguer, Josepn for the estate at Key Lorraine Johnston             3:i7-cv-0055g              The Lanler Law Firm              -




     qdrguez, kathleen                                                     3:17-cv.09143              Beeslay, Men, Crow, Moihvln. Podts. Miles, PC
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     odrlguez-Diaz, Onset and Pedro Ibarca
     OL Nancy                                                              3:17’cv’08415              Onderla’w LLC
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     oebuck. Mary
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   Rogers, Annie
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     ogers, Camille
     ogara, Caste ton the estate of Olga Burke                             3:iB’cv’00054              Bums C1er.sI UP
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     ogers, Mary Ann
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      oman Ermeilnda aDo Awek Lens
      omen, Evelyn end Christopher                                         3f7-cv-10327               Skikos, Crawford, SkIkos 6 Joseph
    Roman, Gl*dys                                                           317.cv’0$375          -   Besitey, Allen, Cqw, Mathvia, POrtia, Miles, PC
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    Romoro, Evelyn
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    Romero. Yvette
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    Roney, Lisa and Timothy
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    Roohan, Janice                                                    —



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   [Ropur, Veronica
   Rosales Elsa                                                             3;17.cv.100288             The tinier Law Firm
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   I,-corio Caussade, Angøt for the estate ot Rita Ceussede Rosonia                                    Ondarluw tIC
   osato, Frances                                                           3:17.ov-09563                                                          --




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    Rass, Buisy
    Ross, Donna and Dean                                                    3:17-cv-0B361              Ventura Law
    Ross. Joim aDo Veronks Ross                                             3:f?’çv’08937              flessley. Allen, Crow, MØtiwIn, Porti, Miles. PC
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    Ross. Use
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    Ross, Sherry
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    Ross. Wanda
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    Rosser Brenda
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    Roaset, Vicki
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    Rässey, MaryArin
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    Root, Michael aba Phylila Rosi
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    Roszak, Rose Mane
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     Ravine Dilveras, Nilea
     Rovito Volanta                                                            17’cv 13850                Qndedaw LIG
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     Rowland, Ken Dawn
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     Rowsey, Dorothy
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    Bucker. Hannah
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    Bucker, Mary
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    Ruinick, Rhonda
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    Rue, Rosanne
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  RDlairia                                                                 3::fT.cy-10004               BuSby, *en, Crow, MeUwin, PocUs, MIles, PC
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  Saber, Barbara        —
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        wsk Paul                                                           317cv.13O13                  MOrale LRw Rrm PLLC
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  Sabvtcs, Pamat                                                           3:l7-cv.ba267
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  Satazat, Josaphne               —




  atorno. Barbara                                                          3:17.cv.0875L                Ondss*w UC
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   tb, Travis for the estate of Janet Smylh
  Saltouni Maureen end Season                                              3 17.cv 06201                Levhi 5mes LIP
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  Salty. Alpati for the estate at Ashok Salty ane Davinder Salty
   ajpotor, Steven abe Suwi Wlden4SbpoLer                                  3:i?.cv-Q42e                 Baasley.Akn, CtQw, MaHwl, Pws. MIles, PC
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  Barnard. Mark obo Ruth Samarel
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  Samuel Deborah
   annuals. Dakota for Sabrlna Samuel                                       3:17-cv-12U4                Gaza 6 Honnokl LLC
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   anithosz Alcides as hew of Asnanda Sanchez
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    anchez, Adetn
  Sflnders, Ales (or thø estate of Pamela Ann Gitford                       3:ISev.0041e            -   Ross FekrCesev U.?
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    anders, Margarotto
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    artdors, Ruth
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  Sanders, Sham
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   ante, Scott for the estate of Kinibedy Ann ErnersonSanta
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   anUago. Heidi
  Santiago, Lady                                                            3:1 7-cv.0Th61               The Onder Law Firm
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  Sapp, Deidrue
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  Sapper. Paula Ann
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  Sarantopoiitos, Charlotte
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    arver, Dtna and Michael
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    aunders, Geraldine (on the estate ot Cheryl Fleming
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    aundors. Lloyd for the estate of Seundre Fayc Saunders
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  Satsman, Leslie end Date
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  Suve, April
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  Savage, Frances
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  Savage, Lauren
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  SaaandDenis
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    awyar, Theresa
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  Sawyor-DeAquino. Rhonda                                              -




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    aye_gil. Cheryl                                                                             -




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  Scagilorie, John and Linda MuhibacJi
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  Schalfur, Lyndu
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  Schaflo, Joan
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  Schapparte Margie end Mdtk                                                                              Burns Charosl LLP
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   Schenker, Pamela
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   Scherer, Sue
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   Sehiossur. William tar Inc estate of Lice Schiossan
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   Schmandt, Laurie
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   Schmtdl. Kathy
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   SchmItt Allison                                                                                         NapeS Shkotntk P1_IC
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   Schmucksr, Molanla
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   Schnelte Susan
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   Schnbar, Miriam and Charles         -



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   Schock, Tulaha                                                                                          Don Barrett
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 Schroar, Sharon                                                              3J 6-cvOO294                        Potts Law Fm
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     covanti. Diana
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     crucjg. Jute for Francos Scrugge
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   e.igo, Patricia                                                             317-cv-09062                        Beasley, Allen, Crow, Mettlvlñ, Penis, Mites. PC
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   amen, Jerome obo Barbare Semen
   oman, Jr., Frank abe Joan Somari                                             3:17.cv08847                        Bea*y, Allen, Crow, Mothvln, Paris, Miles, PC
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    ombter.UnOr3(oc trio estate of Susan Sombler
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    onorote, Christine Anne
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    enter, Debàrah Anne                                                   -




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    ovuranco, Karnle for irii estate of Karen Kock
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  Soyorina, Monica and John
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  Shout, Patrick aba Mario Shauf
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     hutton. Kathy                                                               3z17’v-0S76i                        Ond*liw ICC
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     hotton, Laura Jo
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     helton, Regina
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     hemory. Jill
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   Shepherd Janet                                                    --




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     heppatd, Katherine and Ketton
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   Sherlock, Tine
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   Shiekis, Willie Mime                                                                                              The Simon Law PC
     hields.Mantoy, Maria Deem                                                    3:17-cv06684
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   ShhiIoh, Halima                                                                                                   Beads1, Allan, Crow, Mathvtn, Ports. Miles. PC
     hipley, Jennifer                                                             3:17-cv-10393
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     hirk, Janet
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      sort, Gaore for Deborah Short
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   hur. Nancy                                                                 317-cv-10665           Goornb 8 Hotck PC
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    dos, Parnola                                                              3:17-cv-10357          B*asIiy Men, CrowS Usthvin, PotU, MHes PC
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    Kars. Laura                                                               3:1 6-cv-08631         Baron L Budd PC
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   tva, b<omala                                                               3:1 7cv-12449          .iohnion Becker, P1CC         -




   leer. Carol                                                                3:1?.cv.O?020          Don Barrett
   trot, William obo Janice Sliver                                  —X        3:17vv-08578           Beaslay. Akn. Crow, Methvin, Portia, Mba. PC
   manakia, Ctydoan                                                           3:17-cv-10162          Gobrnb Honick PC
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   onna Simeono                                                               3:7 7.cvQ5872              Rose Feller Cuey LLP
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  Simmons, Wynoite                                                            3:1 7cv-OB9O1              Motley Rice LLC
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   jmoneu          and Laura Pratt                                            3:18.cv-00805              Ron Feller Casey LIP
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   $trikovoc, Nancy
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  SIsk, Charles obo Linda Siai
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  lSlcke. Jerome     tot 9i eatate or Geàrgeánn Swick                         3:17.vv-j0j34
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  Slzemorc. Mnic                                                              317-cr.13025               Boasiel’, Mon. Crow, Melnvin. PodIa. Miles, PC
  [imore, Robin                                                               3:17’cv-11328               Hart MCLaUNin & Eldrldga
  ISoHroldonbenaUotIya                                                        3 17-cv.09843              The Larilr Law FIrm
  [SIinDutis                                                                  3:17-cv-09761               Beasley, Mon. Crow. Math yin, Podia, Miles, PC
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   Shnland, Makiko end Joshua                                                 3:l7-cv-05137               Ron Feller Casey LIP
   Sloan. Edna                                                                3:17.cv-OSZOQ               Baasley. Men, Crow, Muthvln, Portia, Miles, PC
   Sloway. Katharine                                                          3:17.cvOB712                Beeslay,Men, Crow, Mathvln, Portia, Miles, PC
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    Smilh, Chartes 0*0 Marvot Smith                                            3:17-cy-72235              Beasl.y, Allen, Crow, Muthvin, Penis, Miles. PC
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      mlth Cynthra Lrttøripl
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    Smith. Deborah                                                             3:17-cv-02352               McGrath Law Firm PA                      -




    Smith Debra                                                                3 17-cv-08722               Boasisy Allan CtowMethvln Portia MittS PC
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      milh,Dhina
    Smith, Dianna      -
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    Su tea for Amber Rose Lee Smith
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      mith, Evelyn
      mith, EvotZ                                                               317’cv-12863     -         flume Charast LIP
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    mith, Janot for the estate of Wikna Smith                                   3:17-cv.12608
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    miii. Judith
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   Smith, Judy Jane
    mith, Kathleen                                                              3:17-cv.09846              The Cattier Law Firm
    miii, Kathryn                                                               3:17.cv-O7’S16             AshCrsfl & GànI LIP
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    mith, Kathryn and Owayne Rsndell SmIth
    mitn, Kathy                                                                 3i7-c13541                 OndorinwlLC
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    mlii, Lynn and Bruce Smith
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   rnHb Sbamn                                                          3i7-cv.0872e             Beay Akn, Cmw, Methvn,Poriin Ms. PC
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    milti, Wendy for (ho estate ci Ovorta Smith                        3:17cv-12951             Paul LIP
    mith, Weasm on bha)t on the estate of Cheri Ronnie-Smith           317-çv.Oê2Q              Pikar Weichman LI.P
    mIUi-Cowan. Tammy and Gte9 Cowan                                   3:1 ?-cv-06610           The Simon Lw PC
    mlth-Myers Deanna                                                  3        v-O79           The Simon Law PC
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    moot, Tradne
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  Snaect, Catherine
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    new, DeLynn
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  Snydót. Connie                                                        3:1B-cv-08816-FLW-LHG    Baron & Budd PC
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    nyder Sharon and Robert
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  Sobocinaki, Patrice                                                   3:18-cu-Of 332           Johnson LawGroup
  Soft, David Frank (or the estate of Elinora Louise Ryan               3:1Z-cv.’OOSOS           McGowan, Hood 6. Feklor ICC
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  Sets, Mona                                                            3:17-cv40250             Sashay, Allen. Crow, Methvln, Portia, M11e5. PC
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  Solomon, Susan
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     orensert. Stephanie
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  Sorreks, Cynthia
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   Soullos. kgltios, (or the estate of Deborah Seutios
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   Southard, Theresa
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     ouse, Sara and Herbert
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   Sowell. Jacob for lh estate ci Delorts Sowet
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   Spetnun, Kathy                                                         3:$7.cvlklSO            Bêasiey, Ailan Crow, Metiwin, Portia, Miles, PC
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       ence, Deborah
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     ocacer, Patricia and Michael
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     punter, Venus
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      piogol. Dale (or the estate of Pameta Wlrhoi.Splegei
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      nineS Joanne                                                 -




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      pitz, Sheila and Robert
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      proch, Diana
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       rouse, James obo Merlena Sprouts
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    Squires, Dawn
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       afford, Timothy lot the estate of Nancy Jean Statrord
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       airteker, Thomas her the estate of Rebecca Stalknakur
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       amps, Qar4 for the estate ot Mary Stamps                                                    Bessley, Alan. Crow. Me{hvrn. PerIls, Miles, PC
       amps, Rose                                                          3:1 7-cv-10478
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       ;ney, Gtina                                                                                 Dan Barrett
       ansbwy. Karen                                                        3:17-tv-f 1496
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     Stanuia James for the estate of Cathtyn Sianula
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    Stapleton, Kisill on behalf of Anile Paradise
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     eon, Nko for thG este of Pamela Steen                              3;17.cv.7645                The Laner Luw Fkm
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     enbrnh. Brenda                                                     3i?-cv-o815e                The LaniLSW Firm
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  Stempi. Kathtyn                                                       3:1?.cv.09060               Ond•rlaw tiC
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    tovens, Usa and Wieam                                                3:SBcv-008O1               Rosa Feller Casey LIP
  Stawall. Mçele                                                        3;licv-f 3705               The Lan4er Law Finn
    Iowan, Barbara Jean                                                 3:I7cv-C7116                Bums Charest LiP
     owart Candae and Lloyd                                              3 18’.cv-OOTIl             Potts Law Firm
  Stewart, Darlene                                                      3:t7av-12782                Don Barrett
  Stewart, Deborah                                                       17-cv072B?                 Bums Charesl LIP
  Stewart, Julio                                                         3:f?-cv.0986?      -       Beaslay, Allen, Crow. Methvln Portia, Mile: PC
  Stowtrn Susan                                                          31?cv *ooae                          Allen Crow Melhvki Portia Muse PC
  Stewart, Thomas for the estate of Sarah Stewart                        3;17-cv-109B3               Bums Charesl LiP
      Idharn. Róbecca and Clayton                                        3:17.cv’.0S473              K*te* Specter PC
       ltwagon, Christina and Jason                                      31 7-cv-05307               Ron Feller Casey LIP
      tnntt. Sharron tar the estate of Clara Dean StinneIl               3 l7-cv1$37                 Ron Fsbr Casey LIP
      ockton, Shannon                                                    i7-cv-10183                 BoaMoy, Men, Crow, MeWvin, Portis. Miles, PC
      ocklon. Stephant                                                   3:18.cv.O0678               Potts Law Firm
     bohr, Jukea tar the estate of Joanne Stoehr                         3:17•cv.09531  —            the Center Law Firm
      one Belly                                                          3iB’cv-O0t12                Chapel Smith I Arden PA
   S one, Denise                                                         3;17-cv0B6O                 Hausield
      aner. Jenny                                                        3:17cv.oBØBg                Beailey. Allen, Crow, Uethvin PontI. Miles, PC
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   S oil, Donna and Colesto Martin                                       3:17-cv-09483               Kitne I Specter PC
     tavor Casey                                                         31’T.cv.12471               Simmons Manly Conroy
     lowers, Anita                                                       3:t7.cv4O?33                Gotdenherp Law PLIC
     tiotiiynda                                                           3 1?-cv.09746              Bs1ay Men Crow Mothvln Portia Miles PC
   Strain, Gladys                                                        3:1?-cv-06663               BeaMey, Allen, Crow, Metflvrn. Portia, Miles, PC
      tasllborg Harold for the estate ol Dorothy Strassberp               3 1?.cv 07880              Slack I Davis LIP
     trooiCarolyn                                                         3;17’cv.08262              Hausteld
     tretj, Melissa                                                       3 17r’01728                Besløy Allen Crow MIhv1n Portia Mass PC
     trtckland, Shirley                                                   31 7-cv08324               The Lanler Law Firm
     from, Bernadstte                                                     3:1?-cv-lhISB              GöklenbatQ LawPU,C            -




     from, Lynn                                                           3:17’cv-11056              The Simon LaW PC
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     trong, Rabocca                                                       3:17-cv-13086               Onderlaw CCC
     fróng, Shores                                                        3’l7’cv-01281               Beasley, Moñ Craw, Meihvln, Portia, Miles. PC
       tout, Sarah aba Kecte Laguotle Stroud                              3:17-cvf0216                Beaslay Men, Ctow, Methvln, Portia, Miles. PC
     fraud tresa end Randy Stroud                                         &17’cv 10811               The Lanlet Law Firm
       uarl, Anna                                                         3:f’.cv-13462               Bessley, Men, Crow, Mothvln, Porli. Miles. PC
       uarl, Connie                                                       317.cv-10603                Levin Sknes LIP
       uarl, III                                                          3:17.cv-C3351               Burns Charest LIP
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       umpf, Dotothy                                                      3:17.aV.04544               Baron 8 Budd PC
       umpi. Susan         —
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      ucliomat, Mlchaal as rep of the estate of Mary Suchomel             3:17.cv-07033               Onder Shelton, O’leary 8 Petersen
       uilvnh, Lecintia and Gary                                —          3:17’cv.09713              kline I Spaoter PC
    Sullivan, Lacinda and Gary                                             3:17-cv-O1?f 3             Golomb I Honick PC
       ulivan, Lorelta                                                     3:1Bcv.00568               Johnsoá Bcker, PI.LC
       uhilvan, William aba y Sullivan                                     3:17.cv-10812              Beastay, Men, Craw, Mathvln, PerIls, Miles, PC
    Summors Susan                                                          317-cv 10817               AshuaflICereILLP
       umnor, Patricta                                                     3:17.cv.08142              AnaMopoub Law Firm
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    utherlend, Dianne                                                      3:1?.cy.Ø515               Boasley, Men, Crow. Methvln, Portia, Miles, PC
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  Swnncutt, MchaeI wtie esta of 1;ein Swancutt                              3: I7.v-1 I 1 61    Golaenbeeg Law PLIC
  Swane                                                                     3:17cv-f2286        Dan Borrali
  Swanson. Ftancasanci C)cnaid                                              3:S7-cv-08784       Ondedaw d.C
  Swoaney. Cathy an John                                                    317àQ431            m L.aner Lw Ftm
  Swelis. Elizab4th                                                         3:17.cv-O8?16       Bsasley. AJ4on. Crow. MuLhvn, PMPC
        Peyton obo K3th1Gfl On                                              3:1 ?cv.0B568       Beai)m’, Aten. Crow, Metflvn. ParlIs. Ms, PC
  Swift. Timothy (or Star Swilt                                             3:17-cv-07667       Don Barrett
  SwIar. Ltsa                       -
                                                                            317.cv4g27o         Beai.y Men, Crow Muthvln, Porlis, Utles, PC
  Sydlar, Janet and Andy                                                    3:1 7cv-O5S5        The Laner Law Ftrm
  Syme& Knatina                                                             3:17-cv.06862       The Simon Law PC
  Szwejkowski, Mary Eltan and Thomas                                        3:17-cv.07378       Madki 6 Saltzman LIP
  Tabann4 Jr Bernard (or the estate ot Chrsdns Thbannt                      3 17.cr.12611       $andeta Pfl*pi Grossman tIC
  Tabor. Shotry                                                             3:1 7-ev-1 1344     Hart Mct.aughun a Eldfldo
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  Tadd&. Kyn end Ruseli
  Taggart, Dora and Jack                                                    3:1 6-cv0Q427       Potts Law Fttm
  Teue Lanorti                                                              311.cv12e22         8*      PhUps Grossman .LC
  Talbolt. Shari                                                            3:1?-cv-06016       Bums Charest LI.P
  Taky. Brenda                                                              31$.cv01253             monaHanlyConroy
  Taftman, Matins                                                           3:17-cvOSO63        Ashorelt 6 Gore) tIP
  Tan. Regina                                                               3r16-cv.OOBOil      GObmb 6 Honkk PC
  Tannenbaum. Lrnda and Howard                                              317-cv.13429        Martm 6 Sa*zmsn U.P
  Tapley. Gregory torthe estate at Kehyy                                    3:17cv’072f 1       Qnd.r haIlØn. OiwyI PeIeaon
  Tapp, Debra                                                               3:17-cv0V265        Beuley, Alien, Crow, Methvln, Perth, Miles, PC
  Taranto. Marion                                                           3:ly-cv.09258       Bushy, Alien, Cmw,Möthvki. Portia. Miles. PC
  renew. Ertko                                                               3: )8.cv.DO9T1      NapeS Shkolnlk PLLC
         Lola                                                               3:17cv,o7e26         Don Barrett
  Tansky, hone and WiSlam                                                    3:1S-cv-00449       Polls Law Firm
   Tate, Veronica                                                            3:17.cv.1082       Ashaaft & Gore) LLP
   Taubig, Patricia Ann by Kim SteIn                                         3:1 ?.cv..10945     Cates Mahoney tiC
   Taucher Ronald obo Linda Teucher                                          3 t?.cv 10104       Baas)ey Men Crow Methvln PerIls Miles, PC
   tauzln. Anita                                                             3:1 7cv-12612       Sanders PNGps Grossman LLC
   Tavender. Shirley                                                         3:17-cv’08fl3       Beley, Ali*n, Crow, Methvfn, PerIls. Miles. PC
   Tavera.Yormary                                                            3:17.cv-122?2       Don Barrett
   Textor Mary Jane ond Paul                                                 3 17.cv à354        Rhotnçold Gluttrm Ruffo 6 Plotkrn LIP
   Ta4oc, Amber                                                              3:17.cv-08695       Goldenbarg Law PI.LC
   Taylor, Amber tot the estate at Rita Luye                                 3:1?.cv.O1P,4       Polls Law Firm
   Taylor. Anastasia                                                         3:1 7cvQ9?31        Onderlaw LLC
   Taylor. Connie for Vie asIde at Norma Brook                               3:IT.cv.12747       Girardi Kaise
   Taylor. Diane                                                              31?-cv40853        Ondortaw CLC
   T%wendo_                                                                  3:1 7cI3l97         Ron Fabr Casey U?       —




   Taylor, Holly                                                              3: l7-cv.12013     Sanders PN$ps Grossman LLC
   Taylor. Jenmter                                                            3:i?-cv.10544      Tha i.anharLsw Firm
   TyIar tot the astute of Rojano Ducrol                                      3:17-cv10765       Bums Charoal LIP
                                                                              3:l?’cv.06558      BasIey, Alien, Craw, Methvin, Podia. Miles, PC
   T!ylor, Melissa                                                                               Simmons Manly Conroy
   Toague, Kathy                                                              3:17.cv1 1286
   Tengberg, KJm Lea as personal reptosentatwe of the estate ot Jody Lynn
   Tg_-                                                                      3:17cv.08380        Ventura Law
                                                                             3:17cv.Q904l        BoasheyAlien. Crow, Methvin, Portia, Miles, PC
   Tenhot, Carrion
   Tenhouten Shorn                                                           3 17-ce 10631       Aahctaft a Carol tIP
   Tarry, Shawna and Glen                                                    3lllcv.00587        Potts Law Firm
                Teresa                                                       3:17.ce-OB710       Bessley, Men, Crow, Metiwin, Portia. Milo, PC
   Tossum, Denise                                                            3:l7cv0$73O         Rushy, Alien, Crow, Melhvtn, Penis. Miles, PC
    hat, David for the estate of Susan Palrna Thai                           3:18.cv-O056        Potti Law Firm
    harp. V,vitm Ann,                                                        3:17-cv-09038       Beasley. Alien. Crow, Methvhn. Portia. Miles. PC
    hayorEre1ne                                                              3 17-cv.09812       Beasley Men, Crow MettIVin Portia Milee, PC
                                                                             3:1 7-cv.086g8      Beailey Allen, Crow, Muthyin, PodIa, Mites, PC
  tgpen, Doyle                                                                                   Johnson t.avv Group
  I higpan. Regorta Ann                                                      3:1?.cv-130g1
    hots, Ranrw                                                              3:lZ-cv-10737       Blizzard Law
   Thomas Joss,a for the estate of Brenda Hurtle Thomu                       3 17-ce 12551       Snders Phillips Grossman tIC           —




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    homes. Joann
    honial, KCthryn                                                  —       3;1B..cv’00237      Bums Chari tIP
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    homes, Lynn
    homes, Mahaline Patricia                                                 3:17.cv.08691       fleasley, Alien, Crow, Mottw*t POrtia, Miles, PC
                                                                             3:17-cv.10340       The Lanlen Law Firm
   Thomas. Paul for the estate of Robin Thomas
                                                                             3:18-cv-OO764       LvlnStmas lIP
    homes. Tracy                           -
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    homason, Vtrglnla Marie                                                   3:l7-cv-06020      McGowan. Hood 8 Folder tIC
    hompson .k.. Walter and Crystal and Manim and Wallet Sr                   3:15-cv’08722       Bums Charesl LLP
                                                                              3:17-cv-09033      Seesley, Men, Crow. Metiwin. Ponils, Miles. PC
    hompson, Dabble Kay
    hompaon. Deborah Verdale                                                  3:17-cv-01564       Montroso Law U
                                                                              3:17-cv-1283f       The Simon Law PC
    hompson. Dianne
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    hompson. Geraldine
                                                                              3:17cv-12361        The Simon Law PC
    hompson, James ton Janice Thompson-Lott
    hompeon Joann                                                             3 17-cy49252        Seasley Men Crow Muthvtn PorUsMIles PC
                                                                              3:17-cv’.0il030     Beasfay, Allen, Crow, Methvln. Pont:, Miles. PC
    hornpson. Karen
                                                                              3:17-cv.12503       The Isnier Law firm
    hompn. Laaaa and David
     hompeon, Myra tar the estate of Vema Mae Thompson                        3:I7-cv-09629       Golonnb & Hontck PC
                                                                              3 7-cvQ8690         Beasley Men Crow Mathvin Portia M4ls PC
     homp5on) NatalIe
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  !horpe Vóa Ivy                                                            3:16cv-O8B27                           BEwon & BudU PC
  Tibbe(, Sru                                                               3:17-cv.4O42                           GOkber Law PLtC
  Tlor DaneUe for the astute of Conoetla Dorsey                             317-cvf 0165                           Gpbmb & Hanlcfc PC
  Tiflan MeryEaan                                                           317-cv 11153                           Go.nbergLawPLL.C
  Tinoco. Ramona                                                            3:i?-cv-11149                          GokleñberQ LawPLLC
  Thus, Roaalynñe                                                           31Y-cvOa9e7                -           8east.y,Aen. QrQw, MeUwn,       PerUs, Mites, PC
  Tobfri. EitzabaUi Ann                                                     317-cv.09023                           8.asby, PJten, Crow, Methvln,   Porils. Mite.. PC
  Todd. Oewty Twm                                                           3:1 v-O266                             Busley, Men, C.ow, UUw1n,       PorUit, MIt.., PC
  Todd Chraslne                                                             3 1?-cv 10773                          Beas)ey Allen, Crow Metftvln    Perils Mites PC
  Todd Emma Jean                                                            317 cv’O?04                            Sums Chutest UP
  Todecheene. Carol                                                         3:17-cv..12832                         iBr.s)ow& M*rod
  Toiten, Sandra, Susan Smith. Ralph Smith and Janet Posey tot the estate          -




  of Sarah Murphy                                                           3 17.cv 11647                          Natrteon Devie Stealiloy Morrkson Jonas PC
  TdcØ. Sophie                                                              31S’cvO0322                            Ondatlaw C.LC
  Tokver, Michelle                                                          317-ov4)6733                           The Skeen Law PC
  Tollari, Patricia and Aol                    -
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  Toalvor, Ruthie eaIaw and Paul Tolliver. CaiUy N1004o Cotfman. Sierra
  Cheyenne Toillver. end Denime Alexus Toillvor                             317-cvO276                             Steve Merfltt
  Thrnnl, Amy                                                               3:1$.cv-0056$                          Johnson Socket. PLCC
  Tompkins. Bonnie obo Dalores Wt.se                                        317-c*0B41$                            Se.st.y, Men, Crow, Methm, Portia, Mba, PC
  Tompkins, Virginia                                                        3:17-cv.O733                           Ondarlaw tiC
  Torn. Sandy                                                               3i6.cv.01201                           Simmons Hanly Coorpy
  Tories, Nivia                                                             3;17-cy-06713                          Thoimon tw PC               -




  Tokln, Kathy Lee                                                          3:17’cv-12237                          Besahy, Men. Crow. MaihvhPothI, Miles, PC
  Totos, Karen                                                              3:17’cv-05488                          Beasley, Allen, Crow, Methvin. Patti.. Miles. PC
     ownsnn, Nathan obo Lenom Townsen                                       317.cv40583                            Busky, Men, Crow, Methvtn. Perils, Mites, PC
  Trapini. Sylvia                                                           317.4f 1409                            OndertawLCC
  TreadweI Unite                                                            3.1S’cv’O3348D                         HWMcLaughiln & Eiddde
  Treadwall, Linda                                                          3:16-cv-09495                          Hart UoLauhhn & Eldridçe
  Tremby, Jane                                                              318.cv.00570                           Johnson Sacker, Pt.LC
   Trammel, Timothy aba Deborah Bay                                -        317-cv-O52                             Bcas1e. Man. Crow. Methino. Patti.. Mites, PC
   Trenl. Sherry                                                            i 7’cv45Th3                            Qnedsw U.C
   Tribbie, Gloria                                                          3:13-cv-01310                          Johnson Law Group
   Instant. Phliomena Sheny                                                 317.cv.1.0492                          Beasley. Man, Crow, MeUwin, Portia, Mites, PC
   Trogdon, Barbara                                                         3:17.cv.06687                          Beasley, Men, Crow, Mathvin, Podia, Mites, PC
   Troop krIsten                                                            3 17’.cv 1QB7              —           GOlerabS Honick PC         -




     rout, Amenda                                                               7’.cv-133 ii                        Robinson Calcagnie, INC
   Trover Carolyn Sue                                                       3;17.cv.09021                           B.asley, Allen, Crow Uathvin, Portia, Miles. PC
   Trudeau, Judith                                                     -    3:17.cv-D9OO                            Beasier, Abe, Crow, Methyin, Patti., MItes PC
   Trujr$, Heather                                                     -    3:17.cv4B$G7                                11eV Man, Crow. M.Uwln, Patti., Mites, PC
   Trupia, Lillian                                                          3:1 Z-cv. 12456                         Senders Phillips Grossman CCC
   Thckar Catollne                                                          3 1 7235                                Sesaby n, Crow Metiwki Perils Mites PC
   Tucker, Crystal far the estate of Judith Johnson                         3:1 7-cv-109?Q                          Ashcteft & Gate) liP
   TuckerScott, Dorothy                                                      3:17-cv.13654             -            Onderlitw ICC
   Tucker-Walters, Andra                                                     3:1 7-cv-07863    -                    Ross Feller Casey LIP
    Turk. lorraine                                                           3 17-cv-08210                          The Larder Law Firm
   Turner. Beknde                                                            3:1 7-cv-06P2                          Don Barrett
   Turner, Karen                                                             3:18-cv41215                  -        $eaaiay,Man,Cto%Me(hvin, Petit., Mites, PC
    Turner. Margie end Hoble Turner                                          ole       -                            nla
   Turner. Michelle                                                          3:17-cv•03182                          Ross f,$i’ Casey tiP
      ttte, Barbara                                                          3:17-cv-f 2321        -           -    Don Barrett
    Tytee Cher)4 Ann                                                         3 17.cv.02008             —            Johnson Becker P1CC
    Lime, Madrgoi                                                            3:1B-cv-00571                          Johnson Becker, P1CC
    Urnilout, lorry rot me estate of Ponny Umilost                           317.cv.12745                           GUard) ICeasa
    Upchurch Michelin                                                        3 17-cv 01851                          Onclor Shelton Oleary a Peterson
    UyMlchutta                                                               3 17-cv42451                           Sandor Pltl*p. Grossman ICC
    Uribe. Sharyn (or Danita Lube                                            3:1 7-cv-13630                         Don Barrett
    Usher, Debra and Raymond                                                 3m18-cv-00037                          PoilsL.w Firm
     Jyomura, Stove aba Sonhur Yaun Uyomura                                  3:1 7-cv-10208                         Beasley. Allen, Crow. Methvin. Portii, Miles. PC
    Vaccaro Pa                                                               3 )7-cv-Q$Q48                          Ashctaft 5 Get) LIP
    Val5bcn. irauI tar lhr, estate of Edna Vaisben                           318.cv.00759                           Potts Law Firm
    Vikiiz, 1g,iaclO, foi toe estate of Maria Cuisa Canlu                    3:11’.cV-l 1q01                        PaUs Law Pinn
    VetenUna, Juanita                                                        3:17-cv-OT?74                          Onder, Shelton, Oloarya Petotson
    Valentine Shrttuy                                                        3 17-cv 1Q488                          Baaiey Allen Craw Methvln Perils Miles PC
    Vullan, Ana and Vito                                                     3:17-cv-07080                          The Simon Law PC
    Vure                                                                     3:17’cv-0644                           Potts Law Firm
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         arvo,t,Sh                                                           3:17-cy.03085                          Johnson Becker, P1CC
   Van t)oren, Contanca                                                      3:17-cv-12367                          Onderlaw 1CC
   Van HOulari Emily                                                         3 17-cv 13555                          Ondettew ICC
   Van Voorhis, Roger        -
                                                                             3:t7-cv.08893                           Potts Low Firm
   Vandat, Deanna                                                            317’ev.09180                            OndertawU.C
   Vandanbroeke. Ashley                                                      3:18.cv.006?2                           Johnson Becker, P1CC
   Venderachnaf. Evelyn                                                      317-ct.12653                            Don Btril
   Vanela, Miuhelle                                                           3:17.cv-13856                          Ondetlaw CCC
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  Vanocunen. Exnlty oboCheryje Elizabeth Bacftoki                              3I7cv-08579                                Beasley, Allan, Crow, Mathvln, Patfil, MUon. PC
  Vannoy. Sandra                                                               317.cv-07974                               Wilson Law PA
  VrinNurdon Laurie                                                            3 1?cv 13015                               Boasley AUon Crow MeUwin Pw1la Mlb PC
  Vanovar, Totreaa                                                                 3:17.cv.06791                          The Simon Law PC
  VanPeQe. Debra                                                                   3:17-cv•09722                          B.asfey, Aen, Crow, Mthiif, Portis, MUes, PC
  Vargo, Dawn                                                                      3:17-cv-13857                          Ondarlaw tIC        -




  Varian-WilUame, Both                                                             3:1?cv-067 12                          The Simon Law PC
  Varnirdo, Jr., Otis for the estate of Carolyn Varnado   -                        3’17-c’-12614                          Sanders PMbp Grossman tIC
  Varnauskas, The MarIo                                                            3:1 ?.cv.08365                         Beasley Men Crow, Methvn, Perils, Miles. PC
  Vamer, Kathy                                                                     3:l7-cv-12695                          Morei Law Firm PLLC
  Varvil, Michael oDe Constance yarn                                               3:l7cv-OB563                           Beasley. Man. CrowS Mefhvrn, Perils, Miles, PC
  Vasguez, Deborah                                                                 3:17cv.O69?5               —           The Simon Law PC             -




  fqez Enikta                                                                      3:lS.cv.01265                          Simmons Hanly Conroy
  Vasquex. Patricia                                                                3:17•cv-12605       The Simon Law PC
  Vasquez. Soalda Mercado                                                          3:l7.cv.12570       Sanders Phelps Grossman LLC
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  Veal, Samllya                                                                    31?-cvO9232         Beasley, Men, Crow. Mathvln, Portia, Miles. PC                               --




  Vega, Fellcla                                                                    3:17.cy’.0Q17       Baasia, Alien. Crow, Memvln. Perils, Miles. PC                           -




  Vega, Lorraine                                                                   3:17.cv-10711       Walton talken Foster CCC
  Vegas, Uborli for the estate of Pau Bohnon                                       3:1 7-cv-10130      The Lanler Law Firm
  Vera. Tonya                                                                      3:1cv-OOS76         Napoli ShlwlnIk P1CC
  Vordin, Dorima                                                                   3:17cv.C798O        Mhcmft & GrILLP
  Vermilion. Mora                                                                  3’IB-cv’00284       Hauslold
  Vossels, May                                                                     3:?’ov-122          MoreS LawFlrm PLIC
  Vice. Brenau                                                                     3:1 7-cv-09016      Beaslay, Allen, Craw, Mathvh, Portia. Miles. PC
  Vlckonrlatt, Carolyn                                                             llcv.054 1%         Ondorlew tIC
  VIctory, Tabitha                                                                 3:17-cv-10909       Ashcrah & Gore) LLP
  Viani, Jacky                                                                     3:17.cv-05?O?       Motley Rica CCC
  Viadila Il, Roy for Roberta Valela                                               3:17-cv-00512       Bums Chateet tiP
  VIsenuove, Chantol br the estate cC Marlyn Bastodonbeck                          3:1 T’cv-12463      Sanders PhilIps Grossman CCC
    neon). Janlca                                                                  3:1 ?.cv.08674      Raasiey, Allan. Crow, Mathvin, Portia, Miles, PC
  Vitals Bntl                                                                      3 1 T-cv-12354      MoreS Law Fllrm PL.LC
  Vosgien, Cede                                                                    3:1?-cv09766        Beasley, Allen. Crow. Methvln, PortIa. Mtlea, PC                              -




  Waatdanburg. Nancy                                                               3:17’ct-0S356       OndertaW CCC
  Wade. Yvonne                                                                     3:1 7-cv-02775      Burn. Charest LLP
  Wagonknecht Vanana                                                               3 TScv.0U26-FLW LHG Saron & Sudd PC
  Wagner, Catrina                                                                  3:1S-cv-O1%77       Simmons Hanly Conroy
  Wagner. Ellzabeth                                                                3:1S’cv-01732       Johnson LawGroup                            -




  Wagner. Emily                                                                    3:17-cv-10090       Beasley. Men. Crow. Methvln, Portia, Miles, PC
  Wall. AnWO                                                                       3:11.cv-091’06      B.asley.A$n, Crow, Mathvln, Portia, MIles, Pc
  Waite, Nancy                                                                     3:17-cv-09700       Beastey, Allan, Crow, Methvln. Portia, Miles. PC
  Waken-Hall, Caroj                                                                3:17’cv-12616        Sanders Phlla Grossman LLC
  W&dman, Susan and David                                                      -   3:17-cv.05391        Kline & Specter PC
  Waflcer. Bertinda                                                                3:1?-Cv-10132        The Cattier Law Firm
  Walker, Darrell for the estate of Donna Jo Walker                                 3:11-cv.12464       Senders Phillips Gtounrien CCC
  Walkor, Janet                                                                    3:17-cv0 084        ndedaw CCC
  Walker. Colha                                                                     3:IY-cv-0I)694      Baasley, Allen. Crow, Methvmn, Portia, Miles. PC
  Walker. Lisa                          —                                           3:1?.cv-12549       The Simon Law PC
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  Walker. Mike on behalf at Vicki Walker                                            3:17’cv-06609       UcGlynn Ghason & Mouton
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  W”ndruKutlar and Walter Thomas Walker Sr                                          3 18cv-OO799        POtts Law Firm
  Walker. Vail for the estate of Sharri Walker                                      3:17-c’-f 0323      The Canler Law Firm
  Wall, Rebecca and Sloven Norris                                                   3:1?-cv’08631       The Canter Law Firm
  Wallabitich, Joanna                                                               3:17-cv-06512       John 0, Slloo
   Waflaco,Davi,d,,,                                                                3:17-cv-O150        Hbuih, Habush & Rallier SC
   Wallace. Elton anil Geoe                                                         3:17-cv-1D1 35      The Lanier Law Firm
   Wallace, Shokia                                                                  3:17-cv.030B6       Johnson Bucker, P1CC
   Wallen, Julio                                                                    317-cv-08668        Beastey. AJla Crow, MathvIn, Porlis, Miles. PC
   Wallick, Laura                                                                   3:1 ?cv-1 1022      Goklenberg Law P1CC
   Wadis, Ocewn                                                                     3:t7-cv.121 76      Chllders. Scltluatar & Smtth CCC
   Waft, Gary obo Kathleen Wails                                                    317cv.0e81O         Wilson Law PA
   Walsh, Put tie                                                                   3:17’cv-08665       Boosley, Allen, Crow, Mathvln, Portia. Miles, PC
   Walton. Brian Individually and as representative of the estate of Michele
   Walton                                                 —                         3:18-cv-O080Z                             Blizzard Law
   Warnack, Dawn                                                                    3:17-cv-12663                             Napoli Shkolnlk P1CC
   Wamaloy. Bonnie                                                                  3:1 7’cv-ltf 18                           The Lanler Law Firm
   Ward, Coil                                                                       3:17.cv-10461                             Beasley. Men, Crow, Mothvtn, Portia. Mites, PC
   Ward. Valerie and Polar                                                          3t7-cv-1OS14                              Golemb& Honick PC
   Wordy, Annelto                                                                   3:17-cv13i20      -                       MoreS Law FIrm P1CC      -




   Warn Theresa                                                                     3 iB-cv-0G$68                             Potts Law Firm
   Warner. Lloyd obo Denise Warner                                                  3:17-cv-0855g                         -   Beasley, Allen, Crow, Methvin, Portia, MIIOSLPC
    qpn. Julia                                                                      3:17-cv.12370                             Ondertaw CCC
   Warren, Sandra                                                                   3:1?-cv-08605                             Beasley, AlIen, Crow, Methvln, Ports. Miles, PC
   Warren Susan                                                                     311.cv 13310                              RobInson Calcagnie INC
   Warshawsky, Beverly ønd Robert                                                   3:17.cv.06986                             The Simon Law PC
   Waryas, Pamela                                                                   3:i?’cv-11738                             Ondartaw tIC
   Waahlnton, Darlene and Charles                                                   3:1 7-cv.08864                            The Canker Law Firm
   Washington. Shanedra                                                             317-cv.12710                              Don Barrett
   Wttrd, Pauletla                                                                  3:lil-cv’00604                            Gobmb & Honick PC
   Watltkis AntoInette                                                              3 11-cv.09231                             Beasley MeiCrow Metlwln Portia Miles PC
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  Walklnb. Jerr Lynn                                                                 317.cv-Q6fi8                    B.a,Iey *iIenCmw, MeIhV, PorUs. MiIe, PC
  Watson. Erka                                                                       3;-OO325                        ndaiLLC
  Watson. JQyca                                                                      3:17-cv-Q162                    Ondew1LC
  WaOn. Nawui aba BronOa Grftm                                                       31?cv46556                                  ón, Cw. Uthvk Potils. MIi PC
  Wauanl__                                                                           3:1?-cv-07282                   Johnson Lsw Group
  Waiis. Laura and Jn                                                                3:ia-cv-01502                   ROss F.rQase’L(.P
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             Sharon          -
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  Wonthota, Alice Maria Party for (ho estate of Salu irone Morgan                    3:1?-cv-12573                   Sand.ts PhSlps Grasimen ICC
  Weaver EOont       —                                                               3 17-ce 12635                   Mdru. WagslalPC
  Webb, Karyl                    —                                                   3:1 7-cv-D?661    -             Gobonberg Law PLIC
  Webw, Cyndu                                                                        3:17     O776                   Sums Charest UP
  Webster. Angola tot the estate of Vicr<iu Shuaron                                  317-cv-12Y53                    Paul UP
  Webster. Jande an J Webswr                                                         37-cy.1De4O                     The Canter LawFIVm
                                                                                     3:llcv-05654                    Chitdets, Schlueter 6 SmIth ICC
  Weddingion Matter for the estule of Vivian Wedgton                                 3 17-ce 10261                   Gotdenbaq 1w P1CC
  Woin, Nancy erd Scott                                                              3:17-cv-0a593                   The Lnlsr Law Firm
  We net.     boria                                                                  3:17.cvO9S32                    The LentetewFwm
  Welsberçj. Abbie and Milr.hot                                                      317-cv.O6513                    The Simon Law PC
  W&egarber, Je                                                                      3T-cv-($90                      Beasley, Men. Crow MeVwk Porite. MIteL PC
  Weiss. Anne Mario lot Carol Marw Gromaski                                          3:17-cv-1231B                   Don Burreu
  WamtonWu1isobo Palticlu Weiss                                                      317 cv 044                      Beastoy Allen Crow Mathuin Pdis Mites PC
  Watch. Barbara                                                                     3:17-cv-0a229                   Beasley. Allan, Crow. Melhvin, Pants, Mites. PC
  Woti,ToiiDi_onaOianu                                                               3:17-cv.03139                   Ross Falter Casey LIP
         Jamb                                                                        3:17-cv-131 14                  Moralli Law FIrm P1CC
  Wets, Luclonne and Lee                                                             3:17.cv-05315                   Pelts law Firm
  Wets, Margie                                                                       3:1.cv-O7U93                    Sums Charest LIP
  Welts Michael for the eState of Naomi Welii                                        3 17-ce 1120                  Simmona Hanly Conroy
  Welts. Miw and Ginger Welts Ponninglon and Jonathan Wells                          3;17-cv-0647D                   law FInn ot Ror Rocky Walton. PC
  Netter. William tot the estate of Carolyn Wettet                                   3;17-cv-08166                    Morgan 6 Morgan Morgan 6 Morgan Complex UUgehort Group
  Wengotl, Kri1fna                                                                    3:t7-cv-1186S                   Potts Law Firm
  Werthen. Silt foe Pamela Werthan                                                    3:17-cv-O$61f                  The Canter Law Firm
  Werther, Caroline and Daniel                                                        3:f7-cv-08736                   Levy Saldante Finney & Rubenstain PC
  Wesley, Siephanle                                                                   317.cv-126S8                    Moms Law FkmPLLC
  West. Jane                                                                          3:17-cv..0855a                  Beasley, Man, Crow, Methuin, Perils, Mites, PC
  Wait, Myra                                                                          3:17-cv-02604                   Johnson Becker, P1CC
  Whalen, Cathy                                                                       3:18-ce-Of 356                  Johnson Law Group
  Whalen. Ktmburty                                                                    3t17.cv-06716                   The Simon Law PC
  Whalloy, Norma                                                                      3:17-cv-07325                   BeIay, Alien, Crow, Mathvln. Porlrs, Miles, PC
  Wheeler. Shea Ann                                                                   3:1 7-cv-09675                  Beaslay, Men, Crow, Mafhvin, PeniS, Mites, PC
  Whelan, lcrisllne                                                                   3:17-cv-10202                   Beasley. Alien, Crow, Malhvln, Prirs, Mites, PC
  Whiiiane. Mickey                                                                    )17-cv-09651                    Beasloy. Allen, Crow, Mathvin, Porbi, Miles, PC
  Whhtaker. Bobbie                                                                    3:17.cv-04834        —          bum Simes LIP
  Whaakor,Chaau for ma estate of Jce Whilaker                                         3:17-ce-i 1430                  Bums Chatesl LIP
  Whitaker. Deborah and Jon                                                           3:i7-cv-1083&                   Ashcrafi & Gotet CLP         -




  Whbtaker. Diana                                                                     3:I7-cv-09638                   Beaslay, Men, Crow. Mthvin.Porllk. Miles, PC
  While. Becky                                                           -            3:17.cv-13116                   Moreti Law Firm PLLC
  While, Connie                                                                       3:1B-cv-00573                   Johnson Becker. P1CC
  White, Cynthia DIana                                                                3:1 T-cv-09634           -      Beauiay, Alien, Crow, Metnvln. Perils, Miles. Pc
  While, Gaseconer                                                                    3:iT.ce-12598                   Don Borrelt
  White, Janet                                                                        3:1 7-cv-08774                  Onderisw LLC     —




  While, Jennifer and Konnth                                                     -    3;;7-cv-11423                   Kline 6 Spector PC
  White.                                                                              3:17-cv11303                    Ashcraft & GorelLLP
  White, Juunit                                                                       3.’17-cy-12466                  Sanders Phiapa Grossman ICC
  White, Lisa                                                                         3:17-cv-09631                   Beaaiey. Allen, Craw. Uathvin, Portia. Mites, PC
  While. Nlnu and Gotaki_______                                                       &1?-cv-1O*9?                    Ross Feller Casey LIP
  WhoRonpa                                                                            3:17-cv.131 61                   Levin Simes LIP
  White. Sandra                                                                       3:17-Cv-09085                   OnderlawU,C
  White. Shoona                                                                       3:17-ce-I 1322                   Hart McLaughn & Etdndqo
  Whitocotton, Randat Scott, for the estate of Brandy Michase Canton
  Whitecotton                                                                         3:17-ce-I 1028                   Lirvin Simos UP
  Whitonunsi, Mary                                                                    3:17.cv-09778                —   Golemb & Honick PC
  Whilfield, Michael for the estate at Sunja Kay Whidield                             3:l?-cv-11442                    Potts Low Fltm
  Whiltiuld-Glfrnare, Nakia and Aiuilon Giimoto                                       317-cv-10149                     Golemb 6 Honick PC
  Whiitey,Morceous obo Maret Whiusy                                 --                317-cv-07154         -           Boasloy, Allen Crow, Methuin. Poflis, UlteL PC
  Whifloy. Wilma                                                                      3:17cv-131 17                    MoreS Cow Firm P1CC
  Whitman Brenda                                                                      3 17-ce 09224                    Beasloy Allen Crow Mathein Podia Miles PC
  Whilman. Linda                                                                      3:17’cv’09223                    Boasloy. Men. Crow. Methvin, Portia, Mites, PC
  Whitnaor,, Arthur lii obo Evennu Whilmorts                                 -        3:17.c’w-08447                   Seasley, Alien, Crow, Moinvin. Portis, Mll.s, PC
  Whitson, Mickey tot the estate 01 Cynthia WInston                                   3:)7-cv-09588                    The Canter Law Firm
  Wnllt, Tracoy                                                                       3:17-cv.12469                    Sanders Phihps Grossman ICC
  Whiltun, Tummy                                                                      3:17-cv-12617                    Sanders Phibpi Grossman ICC        -




  Whobrqy, Bottnga                                                                    3:I7’cv-13761                    Beuey, Alien, Craw, Mathvin, Porli*, Uitea, PC
  Whobroy, Sarah                                                                      31 7.(i99                        Motley Rico ICC         —




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  Wiener, Rucheltu                                                                    3:17•cv.11251                    Ashcralt&Gerel LIP
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  WUoeen CryUdoboCkdyAimitrong                                   3j7.cvO9442              BAllon.Crow Methvn Póiis Mlis PC
  WiiLwOr, Donna                                                 31Bcy.D1485              Johnson Law Group
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  Weffe Mary                                                    3I7cv.0513f               ThsOndetLawFlrm
  Wong$urnu&, Corolla for the estate of Esther Haslal           3:llcv-12751              Glrerdl Keexe
  Wood Joanna Elaine                                            311.cv-O533               8ea1ey AilenCiow. Mernvln, PorUs Mibi. PC
  Wood. Theodore                                                317-cv09734               Ondotlaw UC
  Wood Toni                                                     317.c.OB645               BeasleyA*en Crow Methvn PortIa Miles PG
  Wooce*, James for the estate of Sherry Ann Woodail            317-cv.O568               Potts Law FIrm
  Woderd, Frenetne                                              3I7-cv48S34               ThOfldert4WFkm
  Wood’Donaloti, Donna                                          3:17’cv-12620             Sanders Phillips Grossman tiC
  Wooden Esther and BIli                                        3 d-ov.00761              Levitt Sims. LLP
  WY JacqtIMe                                                   3 1?-cv-08647              Beaslay Allen Crow Mathvln PortIa Miles PC
  Woodruft, Cindy                                               3:iS.cV.01514             JohnSon 13w Group
  Woods. Mute                                                   317.cv-13f 18              Moralil Law Firm PU-C
  Woods, Donna                                                  3:l7.cv.09518              B.aalpy, 4’Jln, Crow, Malhvin. PortIa , MIleL PC
  Woods, Karate                                                 3:17-cv-13859              Ond*rlsw CCC        -




  Woods Mitha*e                                                  311 CV.08T7B              Ondod*wLLC
  WoóIdrldga, Marl                                               3:17-cv-08424             The Lanlor Law Firm
  Wooff Mary Jo                                                  3:1 7-cr 08793            The Larti r Law Firm
  Wootiver. Connie                                               3:17.cv.10765             Boasley4 Allen. Crow. Methyl, Perils, Miles, PC
  Woomor Kim end RIckla                                          3 178625                  the Lanher Law Firm
  Worlay, Steven for the estate of Kilo Wortoy                   3:17-cv-12718             Ondertaw CCC
  WrIgh1 Cherte. (Or the estate of Ida Marie Wright              3:18-cv-00581             Potts Law Firm
  Wright. Dianne                                                 3:I7-cv-1156              Ashcreft & Gerot LIP
  Wright                                                            3 17V’O22O             8e,li,Mlen crow Mthvln Pgttla Miles PC
  Wright Donalo forme estate of Use Carote WrIght                   3 11-cv 12855          Cevtn Simas LIP
  Wright, Greg te the estate of Desires D.i.                        3:1l’.CY-l 129         Gailtenberg Law P1CC
  Wright. Jacqudyn                                                  3:11-cv-06695          The Simon Law PC
  Wright, Jeana                                                     3:17.v-Q92f 8          Bessley, AItn, CrOW, MothJn1 PQrtIa, Mllö. PC
  Wright, Linda                                                     3:17.cv..08372         Boastoy, Allen, Crow, Methvin, ParIs, Miles, PC
  Wright. Lisa                                                      3:17-cv.09215          Beasley4 Allen4 Crow. Methvin, Portia, MUSs, PC
  Wright, Nancy      .
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  Wright. tracy                                                     317-cv-1O851           The Lnlqr Law Firm
  Wright. Win for the estate of Brenda Kay Wright                   317.cv.06534            Baum Hedkmd AnsIal & Goldman PC
   Wnighisnuth David oo Carolina $haknan                            Sil.sv-0a440            Beaaley An Crow Methvln PáiIJi Miles PC
   Wyatt, Jan obo Deborah Wyatt                                     3:17.cv-09438           Boasley, Allan, Crow4 Metiwin, Portia. Miles, Pc
   WaU, Pamela                                                      3:17.cv’10442           Beasley, Allen, Crow, Methvln, Pans, Miles, PC
   Wycoadick. Ruby                                                  3:17-cv-f 1310         Ashcreft & Caret LIP
   Yacenoch Ematsoñ Tern                                            3i?.ev.01796            Montcosctw LIP
   Vandal, Carol and Goorgo                                         3:17.cv.04414           Simmons Hanly Conmy
   Yerne( Cynthia                                                   317’CY’08202            Th.LunlvLawFkm
   Yealr, Jenniler                                                  3:1 8-cv.01338          Johnson Law Group
   York. Beatrice aaker                                             3:1?.cv-10734           Beasley, Allen, Crow, Mathvln, Pods, Miles, PC
   York. Donnt for the ostate of Eleanor York.Bey                   3:17-cv-O9GO9           Ashcrnft & Gerel LIP
   Yost, Belly                                                      3:l1-cv-12512 -         Dan BInatt
   Yost, Linda                                                  -   317 v-lOgle             Uharaft S GreILCP
   Young. Cart for the estate ol Dontia Young                        31f-cv.12372           QpdadewLLC
   Young. Dasiree                                                   3:17.cv.08622           The Canter Law FIrm
   Young, Doncelle                                                   3’v-Ot507             JähflWtlI3WGlOUP
   Young, Gingar                                                     3:11-cv’.08539        Beasley, Men, Crow, Meihvin, PortIa. Miles. PC
   Young, lens                                                       3j7.cv.06?08          Levitt Simos LIP
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   (oung,lennrter                                                    3.17.cy49614          8.Mn,Ctow, M.thVIn, Portie, Miles4 P
   Voup. Mary                                                        317-cv-02403          Kinsman, MckenziD & Hart
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   Young, Tailana                                                    3:1 7-çv-08266        Wition law PA
   Voungbioad April                                                  3t7.cv 10195          Beaslay Allen Crow Mothvln Podfe Miles PC
   Young-Tune. Deborah                                               3:17cv’.12B$5         Marsh Law Firm P1CC
   Zambrano, Marfluz                                                 317’cy”iOløl          8eSileyAileflCrowMothvin, POrtiL Miles, PC
   Zamora, Luz as heir of Yahaira ANarado                            3:1?.-cv05171         Johnson Backer, P1CC
   Zanda ski, Cathy                                                  318-cv.00?11          Bima Charnel LIP
   Zake. Dianne                                                      3:17.cv-09509         Beasley. Allen. Crow. Methvin!,Portuu, Mites. PC
   Zaviatoski Brenda and MIchael                                     3 17’cv 10158         ggbmb 4 Honick PC
   Zechnian, Mary                                                    3:17-cv.13880         Onderlaw CCC
   tngiey, Diana                                                     3:17’cv.l%208         Fleming. Nolan S JoZ LIP
   Ze1Iet. Jessica                                                   3:17.cv.0853e         Beasley, Men, Crow, Methvln, PortIa. Miles, PC
   Zanti, Carmalla nd Sam                                            3:1Z.cv.Q*184         The Lenten law Firm
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